       Case 1:15-cv-07488-CM-RWL
         Case                     Document
               1:15-cv-07488-CM Document 26 29Filed
                                                 Filed 10/14/15Page
                                                    10/13/15     Page
                                                                    1 of1 81
                                                                          of 81




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Attorneys for Plaintiff and the Proposed Class



                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

 J M SMITH CORPORATION d/b/a,
 SMITH DRUG COMPANY, on behalf of
 itself and all others similarly situated,
                                                 Civil Action No. 15-cv-7488
                              Plaintiff,

  v.                                             CLASS ACTION

 ACTAVIS, PLC,
 FOREST LABORATORIES, LLC, MERZ                  JURY TRIAL DEMANDED
 GMBH & CO. KGAA, MERZ PHARMA
 GMBH & CO. KGAA and MERZ
 PHARMACEUTICALS GMBH

                              Defendants.




                    FIRST AMENDED CLASS ACTION COMPLAINT




                                                 1
        Case 1:15-cv-07488-CM-RWL
          Case                     Document
                1:15-cv-07488-CM Document 26 29Filed
                                                  Filed 10/14/15Page
                                                     10/13/15     Page
                                                                     2 of2 81
                                                                           of 81




                                             I.      Introduction

        1.       This is a civil antitrust action seeking treble damages arising out of the

defendants’ unlawful scheme to maintain a monopoly and to allocate the United States market

for branded and generic versions of memantine hydrochloride (the “Memantine Hydrochloride

Market” or “Market”). Namenda® (“Namenda”) is a branded pharmaceutical product containing

the active ingredient memantine hydrochloride. It is sold in the Market by Forest Laboratories,

LLC (“Forest”)1 and used for the treatment of Alzheimer’s disease. Sales of branded Namenda

immediate release (“Namenda IR”) and extended release (“Namenda XR”) in the United States

exceeded $1.75 billion per year prior to generic entry in July 2015, and the sales volume for

memantine hydrochloride products stands to continue to grow consistent with the

epidemiological projection that the number of Americans living with Alzheimer’s will triple by

2050.

        2.       Forest has licensed the rights to market both Namenda IR and XR in the United

States under U.S. Patent No. 5,061,703 (the “‘703 Patent”), which is owned by Merz GmbH &

Co. KGaA and/or Merz Pharma GmbH & Co. KGaA and/or Merz Pharmaceuticals GmbH

(“Merz”).      Forest and Merz claim that the ‘703 Patent covers the use of memantine

hydrochloride to treat Alzheimer’s disease. Forest’s Namenda IR tablet products were approved

by the Federal Food and Drug Administration (“FDA”) in October 2003 and launched in the U.S.

market in January 2004. Although the ‘703 Patent expired on April 11, 2015, Forest was granted

pediatric exclusivity by the FDA in June 2014, extending the period of marketing exclusivity

protection for Namenda to October 11, 2015. However, that regulatory exclusivity was


1
  Forest was acquired by, and became a wholly-owned subsidiary of, Actavis, plc on July 1, 2014; Actavis, plc
began operating under the name Allergan, plc on or about June 15, 2015. Unless the context indicates otherwise, all
references to “Forest” include successors in interest Actavis plc and Allergan PLC.



                                                        2
       Case 1:15-cv-07488-CM-RWL
         Case                     Document
               1:15-cv-07488-CM Document 26 29Filed
                                                 Filed 10/14/15Page
                                                    10/13/15     Page
                                                                    3 of3 81
                                                                          of 81




applicable only against generic manufacturers who did not submit Paragraph IV (“PIV”)

certifications challenging the ‘703 Patent with their memantine hydrochloride Abbreviated New

Drug Applications (“ANDAs”). 2            Despite the existence of numerous ANDAs with PIV

certifications asserted and maintained as to the ‘703 Patent, no less-expensive generic versions of

Namenda entered the market until July 11, 2015, three months after the ‘703 Patent expired, due

to the anticompetitive behavior alleged herein.

        3.      Generic versions of brand name drugs contain the same active ingredient as their

brand name counterparts, and also typically come in the same milligram strength(s), form (e.g.,

tablet or capsule), and use the same route of administration as the branded version. Generics

meeting these requirements, in addition to demonstrating bioequivalence – i.e., demonstrating

that the active ingredient of both the generic and brand are contained in the bloodstream of

humans in the same relative amounts and periods of time – are clinically identical in that they

give rise to the same positive clinical outcome and are deemed by FDA to be “AB-rated” to the

branded counterpart drug. An “AB” rating in technical regulatory terms means the FDA has

determined that the generic drug is “pharmaceutically and therapeutically equivalent” to its

branded counterpart, the “Reference Listed Drug,” and thus automatically substitutable for the

brand drug at the pharmacy. 3

        4.      The only material difference between generics and brand name drugs is their price

– generics are typically at least 30% less expensive than their brand counterparts when there is a

single generic competitor; this discount typically increases to 50-80% (or more) when there are

multiple generic competitors on the market.              As a result, generics constitute both (a) an

2
  For an explanation of the Hatch-Waxman regulatory scheme and the filing of a Paragraph IV ANDA by a company
seeking to market a generic version of a brand name drug, see ¶¶ 32-41, infra.
3
  See Preface to the 34th Orange Book (2014) at xv, available
http://www.fda.gov/downloads/Drugs/DevelopmentApprovalProcess/UCM071436.pdf.



                                                     3
       Case 1:15-cv-07488-CM-RWL
         Case                     Document
               1:15-cv-07488-CM Document 26 29Filed
                                                 Filed 10/14/15Page
                                                    10/13/15     Page
                                                                    4 of4 81
                                                                          of 81




opportunity for drug purchasers to obtain enormous cost savings; and (b) a serious threat to the

monopoly power and profits of the manufacturer of the brand name drug facing generic

competition. Indeed, AB-rated generics typically take 80% or more of the sales of a drug

molecule from the brand name product within a year of generic entry. These extremely rapid

generic erosion rates are due in large part to a unique feature of the pharmaceutical industry

called drug substitution laws, which permit (and in many states require) dispensing pharmacies

to substitute available AB-rated generic drugs for a brand drug unless the prescribing physician

specifically orders otherwise.

          5.     Acutely aware of these realities, Forest engineered a scheme to improperly block

generic competition for Namenda IR by: (1) brokering a conspiracy whereby certain generic

manufacturers seeking to market AB-rated generic versions of Namenda IR in competition with

Forest as soon as possible agreed and conspired with Forest and between and among each other

to quit their legal challenges to the ‘703 Patent and delay launch until an identical date three

months after the expiration of the ‘703 Patent in order to obtain competitive protection from each

other through a “contingent launch” clause in their various settlement agreements with Forest;4

then (2) using this improperly obtained period of additional exclusivity to launch the successor

branded product, Namenda XR, 5 and force the conversion of the Memantine Hydrochloride

Market from Namenda IR to the clinically equivalent (but not superior) Namenda XR. Forest’s

goal was to convert as much of the market as possible to Namenda XR prior to market entry of

generic versions of Namenda IR because the generic versions of Namenda IR would not be AB-

4
  Contingent launch provisions provide that the generic manufacturer may enter the market on the earlier of: (a) the
expiration of the agreed delay period, or (b) the date on which any other generic manufacturer launches a generic
product. Thus, each generic manufacturer agrees to delay its market entry on the express condition that every other
generic manufacturer does the same and for the same period of time.
5
  Namenda XR is the extended release version of Namenda. It possesses the same active ingredient and the same
half-life as the original version of Namenda. See ¶¶ 160,187, infra.



                                                         4
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   5 of5 81
                                                                         of 81




rated to Namenda XR (since Namenda IR is a twice daily product and Namenda XR is once

daily) and thus not automatically substitutable at the pharmacy. By implementing this scheme,

Forest intentionally sought to destroy the normal market competitive forces that exist between a

branded drug and AB-rated generic counterparts as intended by Congress via the Hatch-Waxman

Act of 1984.

       6.       In early 2008, Forest and Merz began filing Hatch-Waxman patent infringement

suits against multiple generic pharmaceutical companies, including Barr Pharmaceuticals, Inc.

(“Barr”); Teva Pharmaceuticals USA, Inc.; Cobalt Laboratories, Inc. (“Cobalt”); Orchid

Chemicals & Pharmaceuticals Ltd. (“Orchid”); Lupin Pharmaceuticals, Inc. (“Lupin”); Upsher-

Smith Laboratories, Inc. (“Upsher-Smith”); Wockhardt Limited (“Wockhardt”); Mylan

Pharmaceuticals, Inc. (“Mylan”); Genpharm ULC and Genpharm, L.P. (jointly, “Genpharm,”);

Interpharm Holdings, Inc. and Interpharm, Inc. (jointly, “Interpharm”) (whose interests in the

suit were soon to be acquired by a wholly owned subsidiary of Amneal Pharmaceuticals, LLC)

(“Amneal”); Sun India Pharmaceuticals Industries, Ltd. (“Sun”); and Dr. Reddy’s Laboratories

Ltd. and/or Dr. Reddy’s Laboratories, Inc. (jointly, “Dr. Reddy’s”) – each of which had filed

ANDAs with the FDA to market AB-rated versions of Namenda IR prior to the expiration of the

‘703 Patent, and each of which claimed that the ‘703 patent was invalid and/or not infringed by

the generic products they intended to launch. Under the Hatch-Waxman Act (discussed below),

the mere filing of these lawsuits prevented the FDA from approving the generic drug

applications for each of these generic manufacturers for 30 months, regardless of the merits of

the lawsuits.

       7.       In 2009 and 2010, Forest and Merz settled their Hatch-Waxman lawsuits against

all potential first-filing generic challengers, which included Barr, Teva Pharmaceuticals USA,




                                               5
       Case 1:15-cv-07488-CM-RWL
         Case                     Document
               1:15-cv-07488-CM Document 26 29Filed
                                                 Filed 10/14/15Page
                                                    10/13/15     Page
                                                                    6 of6 81
                                                                          of 81




Inc., Cobalt, Amneal, Upsher-Smith, Wockhardt, Sun, Orchid, Dr. Reddy’s, Lupin and Mylan

(the “Potential First-Filing Generics”), 6 by entering into and brokering anticompetitive

agreements (collectively, the “Contingent Entry Agreements”) whereby each of the Potential

First-Filing Generics: (1) agreed not to compete with Forest or enter the market prior to July 11,

2015, unless another generic competitor entered the market earlier (e.g. “contingent entry”) ; and

(2) received cash payments, the amounts of which have not been publicly disclosed. The July

11, 2015 entry date in each of the Contingent Entry Agreements was after the expiration of the

‘703 Patent and any other exclusivities that could prevent entry by any of the Potential First-

Filing Generics.

        8.       Through unlawful “contingent launch” or escape clauses, which were

substantively identical in all of the Contingent Entry Agreements, the Potential First-Filing

Generics obtained protection from their fellow generic competitors by agreeing to delay the

launch of their generic product from the date of settlement until exactly three months after the

expiration of the ‘703 Patent if and only if all fellow generic companies did the same.                          By

brokering the agreements, Forest and Merz ensured that without regard to the strength of the

generic competitors’ invalidity and non-infringement challenges to the ‘703 Patent, Namenda IR

would have no generic competitors and Forest would maintain patent-generated monopoly

profits until at least three months after the expiration of that patent.

          9.     Without the “contingent launch” provisions, each Potential First-Filing Generic,

operating pursuant to its independent economic self-interest – as intended by the antitrust laws

and Hatch-Waxman Act – realizing the significant number of competitors vying to be first to

6
  The generic company(s) that is first to file a substantially complete ANDA containing a “Paragraph IV”
certification that a patent(s) applicable to the corresponding branded drug product is either invalid, unenforceable,
or not infringed may be entitled to receive a period of 180-days during which no other ANDAs for the same branded
drug may be approved. 21 U.S.C. § 355(j)(5)(B)(iv).



                                                         6
       Case 1:15-cv-07488-CM-RWL
         Case                     Document
               1:15-cv-07488-CM Document 26 29Filed
                                                 Filed 10/14/15Page
                                                    10/13/15     Page
                                                                    7 of7 81
                                                                          of 81




launch generic versions of Namenda IR and the particular value (described below) of being the

first generic on the market, would have sought the earliest possible entry date – without regard to

what its fellow Potential First-Filing Generics had agreed to – either by launching “at risk,” 7

litigating the patent suit to conclusion, negotiating its own earlier entry date in its settlement, or

entering the market immediately upon expiration of the ‘703 Patent in April 2015.                            This

competition among the Potential First-Filing Generics vying to be the first to market might well

have made it difficult or perhaps impossible for Forest and Merz to get all of the Potential First-

Filing Generics to settle or to agree to the same entry date: the first to settle would be worried

that, whatever entry date it had agreed to, one or more of its fellow Potential First-Filing

Generics would get a “better” deal, i.e., an earlier entry date, in its own subsequent settlement

with Forest and Merz, or would launch “at risk,” would continue to litigate and win (and then

launch), or would launch in April 2015 immediately upon expiration of the ‘703 Patent.

         10.     Indeed, absent the “contingent launch” provisions, each Potential First-Filing

Generic, upon settling, would have the same worry in turn, and the last settling Potential First-

Filing Generic would have every incentive to hold out for the earliest date of all. But, this is the

very type of competition that is protected and promoted by the antitrust laws and the Hatch-

Waxman Act. The “contingent launch” provisions, however, protected the Potential First-Filing

Generics from each other – i.e., dampened competition – by eliminating the risk that one of them

would get an earlier generic entry date than any of the others. It did this by reducing the

economic incentive each Potential First-Filing Generic otherwise would have had to seek an




7
  “At risk” entry refers to circumstances in which a generic has received final approval from the FDA to market its
product but the infringement litigation is continuing and therefore the generic may be “at risk” of incurring
infringement damages if it enters the market but loses the patent litigation.



                                                        7
       Case 1:15-cv-07488-CM-RWL
         Case                     Document
               1:15-cv-07488-CM Document 26 29Filed
                                                 Filed 10/14/15Page
                                                    10/13/15     Page
                                                                    8 of8 81
                                                                          of 81




entry date earlier than its fellow generic competitors by ensuring that any “earlier” entry would

permit and trigger earlier entry by all.

         11.     The Contingent Entry Agreements were interdependent, and Forest and Merz

induced the Potential First-Filing Generics to collude rather than compete by giving each the

assurance and protection that if it agreed to delay competing until July 11, 2015, none of its

generic competitors would come to market earlier.

         12.     During the period of delay that Forest secured from the Potential First-Filing

Generics through the Contingent Entry Agreements, Forest implemented what its CEO referred

to as a “forced switch” of the U.S. Memantine Hydrochloride Market from Namenda IR to

Namenda XR, a product that offered no material benefit to patients, 8 but which has longer patent

protection and is not AB-rated to generic versions of Namenda IR. Such a switch is detrimental

rather than beneficial to the patient population (i.e., those with moderate to late stage

Alzheimer’s disease) because their medical routines are set, they are extremely vulnerable, and

conversion has and will keep prices of memantine hydrochloride artificially elevated for all

purchasers (since prescriptions written for Namenda XR cannot be substituted with the

therapeutically equivalent but less-expensive AB-rated generic versions of Namenda IR). In the

simplest of terms, Forest and Merz brokered a deal that enabled each of the Potential First-Filing

Generics to overcome the concern that it would not be in its economic interest to accept an entry

date as late as July 2015, then used that generic launch delay period to convert the market to




8
  No studies have been done to show that Namenda XR is more effective than Namenda IR. As the Second Circuit
recently observed: “Namenda IR and Namenda XR have the same active ingredient and the same therapeutic effect.”
State of New York v. Actavis, No. 14-4624, slip op at 16 (2d Cir. May 28, 2015). FDA concluded that “the efficacy,
tolerability and safety profiles are expected to be similar. . . .” NDA No. 22-525, Clinical Pharmacology and
Biopharmaceutics                 Review(s),               at             p.4            (available              at
http://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022525s000_namenda_xr_toc.cfm).



                                                        8
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   9 of9 81
                                                                         of 81




Namenda XR, thereby indefinitely preserving its stream of monopoly profits from the Namenda

franchise.

        13.    Forest carefully timed the launch of Namenda XR so as to avoid prematurely

cannibalizing sales of Namenda IR, Forest’s highest grossing product, yet still allowing

sufficient time to force the memantine hydrochloride market to convert to Namenda XR prior to

the launch of AB-rated generic versions of Namenda IR. Because the “forced switch” effectively

removed Namenda IR from the market, as intended, and thereby significantly impeding

automatic generic substitution at the pharmacy level (the most efficient means for generic

pharmaceuticals to compete), when generics launched their generic version Namenda IR tablets

in July 2015, generic manufacturers were able to capture a only small fraction of the Memantine

Hydrochloride Market that they otherwise would have captured.

        14.    But for the anticompetitive Contingent Entry Agreements, many of the Potential

First-Filing Generics would have launched their generic products earlier: (a) upon receiving FDA

approval while the patent litigation was still pending (i.e., “at-risk”); (b) upon prevailing against

Forest in the underlying patent litigation; (c) via lawful, separate, and independent settlement

agreements whereby reasonable parties in the position of the Defendants and the Potential First-

Filing Generics would have provided for much earlier negotiated entry dates without the

protection from competition that the contingent launch provisions provided; or (d) at the very

latest in April 2015 after expiration of the ‘703 Patent. Similarly, but for the unlawful forced

product switch from Namenda IR to Namenda XR, the Potential First-Filing Generics and other

generics would have captured a much larger share of the Memantine Hydrochloride Market than

they have been able to capture with the belated launch of their products beginning in July 2015.

The smaller available market share may have additionally caused some would-be generic




                                                 9
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  10 10 of 81
                                                                     of 81



challengers to abandon their efforts to market a generic version of Namenda IR altogether, thus

compounding harm to competition. Plaintiff and members of the Class would have, in turn,

substantially substituted the less-expensive generic versions of Namenda IR for their purchases

of more-expensive brand Namenda IR, thus saving substantial sums of money.

        15.    Defendants’ conduct was designed to and did in fact: (a) delay the entry of less

expensive, AB-rated generic versions of Namenda IR; (b) fix, raise, maintain or stabilize the

price of memantine hydrochloride; (c) allocate 100% of the United States market for memantine

hydrochloride to Forest until three months after expiration of the patent; and (d) substantially

foreclose the most effective means of generic competition in order to preserve a greater share of

that market after the belated launch of generic Namenda IR in July 2015.

        16.    Forest’s monopoly power in the Memantine Hydrochloride Market was

maintained through willful exclusionary conduct, as distinguished from growth or development

as a consequence of a legally-obtained valid patent, other legally-obtained market exclusivity, a

superior product, business acumen, or historical accident.

       17.     As alleged below, defendants’ scheme violated sections 1 and 2 of the Sherman

Act, injuring plaintiff and the Class of direct purchasers it seeks to represent (as defined below)

and causing them to pay overcharges.

                                         II.     Parties

       18.     Plaintiff J M SMITH CORPORATION, d/b/a SMITH DRUG COMPANY

(“Smith Drug Company”) is a corporation organized under the laws of the State of South

Carolina and is located at 9098 Fairforest Road, Spartanburg, South Carolina 29301. During the

class period, as defined below, Smith Drug Company purchased brand Namenda directly from

Forest at supracompetitive prices and has thereby been injured.




                                                10
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  11 11 of 81
                                                                     of 81



       19.    Defendant Forest Laboratories, LLC is a Delaware corporation, with its principal

place of business at 909 Third Avenue, New York, New York 10022. Forest is a company

engaged in the development, marketing, and distribution of branded pharmaceutical products.

On July 1, 2014, Forest was acquired by, and became a wholly-owned subsidiary of, Actavis, plc

(now Allergan, plc).

       20.    Defendant Actavis, plc (“Actavis”), now known as Allergan plc, is incorporated

under the laws of Ireland, with its principal place of business at 1 Grand Canal Square,

Docklands Dublin 2, Ireland. Actavis also has a place of business at Morris Corporate Center III,

400 Interpace Parkway, Parsippany, New Jersey, 07054. Actavis markets a broad portfolio of

branded and generic pharmaceuticals and has commercial operations in more than 60 countries

around the world.

       21.    Defendant Merz GmbH & Co. KgaA is incorporated under the laws of Germany,

with its principal place of business at Eckenheimer Landstrasse 100, D-60318 Frankfurt am

Main, Germany. Merz GmbH & Co. KgaA is a company engaged in the development,

production, and distribution of branded pharmaceutical products.

       22.    Defendant Merz Pharma GmbH & Co. KgaA is incorporated under the laws of

Germany, with its principal place of business at Eckenheimer Landstrasse 100, D-60318

Frankfurt am Main, Germany.

       23.    Defendant Merz Pharmaceuticals GmbH is incorporated under the laws of

Germany, with its principal place of business at Eckenheimer Landstrasse 100, D-60318

Frankfurt am Main, Germany.

       24.    Defendants Merz GmbH & Co. KgaA, Merz Pharma GmbH & Co. KgaA and

Merz Pharmaceuticals GmbH are collectively referred to herein as “Merz.”




                                               11
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   12 12 of 81
                                                                      of 81



        25.     All of defendants’ actions described in this Complaint are part of, and in

furtherance of, the unlawful conduct alleged herein, and were authorized, ordered, and/or done

by defendants’ various officers, agents, employees, or other representatives while actively

engaged in the management of defendants’ affairs (or that of their predecessors-in-interest)

within the course and scope of their duties and employment, or with the actual, apparent, or

ostensible authority of defendants.

                                 III.   Jurisdiction and Venue

        26.     This action arises under sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2,

and section 4 of the Clayton Act, 15 U.S.C. § 15(a), and seeks to recover threefold damages,

costs of suit and reasonable attorneys’ fees for the injuries sustained by Smith Drug Company,

and members of the Class (defined below) resulting from defendants’ conspiracy and scheme to

restrain trade in the United States market for memantine hydrochloride. The Court has subject

matter jurisdiction under 28 U.S.C. §§ 1331, 1337(a), 1407, and 15 U.S.C. § 15.

        27.     Venue is proper in this District pursuant to 15 U.S.C. §§ 15(a), 22 and 28 U.S.C.

§§ 1391(b), (c), and (d) because during the class period, the defendants resided, transacted

business, were found, or had agents in this District, and a substantial portion of the alleged

activity affected interstate trade and commerce discussed below has been carried out in this

District.

        28.     Defendants’ conduct, as described in this Complaint, was within the flow of, was

intended to, and did have a substantial effect on, the interstate commerce of the United States,

including in this District.

        29.     During the class period, Forest manufactured, sold and shipped Namenda in a

continuous and uninterrupted flow of interstate commerce. The defendants’ anticompetitive

conduct had a direct, substantial, and reasonably foreseeable effect on interstate commerce.


                                               12
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   13 13 of 81
                                                                      of 81



          30.   During the class period, each defendant, or one or more of its affiliates, used the

instrumentalities of interstate commerce to join or effectuate their scheme.

          31.   This Court has personal jurisdiction over each defendant, because each defendant

– throughout the United States and including in this District – has transacted business,

maintained substantial contacts, and/or committed overt acts in furtherance of its illegal scheme

and conspiracy. The scheme and conspiracy have been directed at, and have had the intended

effect of, causing injury to persons residing in, located in, or doing business throughout the

United States, including in this District.

                                  IV.    Regulatory Background

A.        The Regulatory Structure for Approval and Substitution of Generic Drugs

          32.   Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that

create a new drug must obtain FDA approval to sell the product by filing a New Drug

Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include specific data concerning

the safety and effectiveness of the drug, as well as any information on applicable patents. 21

U.S.C. § 355(a), (b).

          33.   When the FDA approves a brand manufacturer’s NDA, the manufacturer may list

in the “Approved Drug Products with Therapeutic Equivalence Evaluations” (known as the

“Orange Book”) any patents that the manufacturer believes could reasonably be asserted against

a generic manufacturer that makes, uses, or sells a generic version of the brand drug before the

expiration of the listed patents. The manufacturer may list in the Orange Book within thirty days

of issuance any patents issued after the FDA approved the NDA. 21 U.S.C. §§ 355(b)(1) &

(c)(2).

          34.   The FDA relies completely on the brand manufacturer’s truthfulness about patent

validity and applicability, as it does not have the resources or authority to verify the


                                                13
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   14 14 of 81
                                                                      of 81



manufacturer’s patents for accuracy or trustworthiness. In listing patents in the Orange Book,

the FDA merely performs a ministerial act.

          1.    The Hatch-Waxman Amendments

          35.   The Hatch-Waxman Amendments, enacted in 1984, simplified the regulatory

hurdles for prospective generic manufacturers by eliminating the need for them to file lengthy

and costly NDAs. See Drug Price Competition and Patent Term Restoration Act, Pub. L. No.

98-417, 98 Stat. 1585 (1984). A manufacturer seeking approval to sell a generic version of a

brand drug may instead file an Abbreviated New Drug Application (“ANDA”). An ANDA

relies on the scientific findings of safety and effectiveness included in the brand manufacturer’s

original NDA, and must further show that the generic drug contains the same active

ingredient(s), dosage form, route of administration, and strength as the brand drug, and is

absorbed at the same rate and to the same extent as the brand drug. This establishes that the

generic drug is pharmaceutically equivalent and bioequivalent (together, “therapeutically

equivalent”) to the brand drug.      The FDA assigns generic drugs that are therapeutically

equivalent to and are of the same dosage strength and form as their brand counterpart an “AB”

rating.

          36.   The FDCA and Hatch-Waxman Amendments operate on the proven scientific

principle that bioequivalent drug products containing identical amounts of the same active

ingredients, having the same route of administration and dosage form, and meeting applicable

standards of strength, quality, purity and identity, are therapeutically equivalent and may be

substituted for one another.   Bioequivalence demonstrates that the active ingredient of the

proposed generic drug would be present in the blood of a patient to the same relative extent and

for the same amount of time as the brand counterpart. 21 U.S.C. § 355(j)(8)(B).




                                               14
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   15 15 of 81
                                                                      of 81



        37.     Congress enacted the Hatch-Waxman Amendments to expedite the entry of less-

expensive generic competitors to brand drugs, thereby reducing healthcare expenses nationwide.

Congress also sought to protect pharmaceutical manufacturers’ incentives to create new and

innovative products.

        38.     The Hatch-Waxman Amendments achieved both goals, advancing substantially

the rate of generic product launches, and ushering in an era of historic high profit margins for

brand manufacturers. In 1983, before the Hatch-Waxman Amendments, only 35% of the top-

selling drugs with expired patents had generic alternatives; by 1998, nearly all did. In 1984,

prescription drug revenue for brand and generic drugs totaled $21.6 billion; by 2013, total

prescription drug revenue had climbed to more than $329.2 billion, with generic drugs

accounting for 86% of prescriptions. 9 Generics are now dispensed 95% of the time when a

generic form is available. 10

        2.      ANDA Paragraph IV certification

        39.     To obtain FDA approval of an ANDA, a manufacturer must certify that the

generic drug will not infringe any patents listed in the Orange Book. Under the Hatch-Waxman

Amendments, a generic manufacturer’s ANDA must contain one of four certifications:

                i.      that no patent for the brand drug has been filed with the FDA (a
                        “Paragraph I certification”);

                ii.     that the patent for the brand drug has expired (a “Paragraph II
                        certification”);




9
  See IMS INSTITUTE FOR HEALTHCARE INFORMATICS, MEDICINE USE AND SHIFTING COSTS OF HEALTHCARE, at 30,
51 (Apr. 2014), available at
http://www.imshealth.com/cds/imshealth/Global/Content/Corporate/IMS%20Health%20Institute/Reports/Secure/II
HI_US_Use_of_Meds_for_2013.pdf (last accessed June 6, 2014).
10
   Id. at 51.



                                                    15
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  16 16 of 81
                                                                     of 81



               iii.    that the patent for the brand drug will expire on a particular date and the
                       manufacturer does not seek to market its generic product before that date
                       (a “Paragraph III certification”); or

               iv.     that the patent for the brand drug is invalid or will not be infringed by the
                       generic manufacturer’s proposed product (a “Paragraph IV certification”).

21 U.S.C. § 355(j)(2)(A)(vii).

       40.     If a generic manufacturer files a Paragraph IV certification, it must notify the

brand manufacturer, and the brand manufacturer can delay FDA approval of the ANDA simply

by suing the ANDA applicant for patent infringement. If the brand manufacturer initiates a

patent infringement action against the generic filer within forty-five days of receiving

notification of the Paragraph IV certification, the FDA will not grant final approval to the ANDA

until the earlier of (a) the passage of 30 months from the date of receipt of the Paragraph IV

notice, or (b) the issuance of a decision by a court that the patent is invalid or not infringed by

the generic manufacturer’s ANDA. 21 U.S.C. § 355(j)(5)(B)(iii). Until one of those conditions

occurs, the FDA may grant “tentative approval,” but cannot authorize the generic manufacturer

to market its product (i.e., grant final approval). The FDA may grant an ANDA tentative

approval when it determines that the ANDA would otherwise be ready for final approval but for

the 30 month stay.

       3.      First-filer’s 180 day exclusivity period

       41.     Generics may be classified as (i) first-filer generics, (ii) later generic filers, and

(iii) the brand’s own authorized generic.

       42.     To encourage manufacturers to seek approval of generic versions of brand drugs,

the Hatch-Waxman Amendments grant the first generic manufacturer who files an ANDA with a

Paragraph IV certification (the “first-filer”) a 180 day period to market the generic version of the

drug, during which the FDA may not grant final approval to any other generic manufacturer’s



                                                16
         Case 1:15-cv-07488-CM-RWL
           Case                     Document
                 1:15-cv-07488-CM Document 26 29Filed
                                                   Filed 10/14/15Page
                                                      10/13/15     Page
                                                                      17 17 of 81
                                                                         of 81



ANDA for the same brand drug. 21 U.S.C. § 355(j)(5)(B)(iv) and 21 U.S.C. § 355(j)(5)(D).

That is, when a first-filer files a substantially complete ANDA with the FDA and certifies that

the unexpired patents listed in the Orange Book as covering the brand product are either invalid

or not infringed by the generic’s product, the FDA cannot approve a later generic company’s

ANDA until that first-filing generic has been on the market for 180 days, or until the first-filer

exclusivity has been forfeited.

           43.      The Supreme Court has recognized that “this 180 day period of exclusivity can

prove valuable, possibly worth several hundred million dollars” to the first filer. 11

           44.      A first-filer that informs FDA that it intends to wait until all Orange Book listed

patents expire before marketing its product does not get a 180 day exclusivity period. Congress

created this 180 day period to incentivize generic manufacturers to challenge weak or invalid

patents, or to invent around such patents by creating non-infringing generics.

B.         The Competitive Effects of AB-Rated Generic Competition

           45.      Generic versions of brand drugs contain the same active ingredient, and are

determined by the FDA to be just as safe and effective as their brand counterparts. The only

material difference between generic drugs and their corresponding brand versions is their price.

Because generic versions of a corresponding brand drug product are commodities that cannot be

differentiated, the primary basis for generic competition is price. On average, generics are

around 30% less expensive than their brand counterparts when there is a single generic

competitor, and this discount typically increases to 50% to 80% (or more) when there are

multiple generic competitors on the market for a given brand. Consequently, the launch of a

generic drug usually results in significant cost savings for all drug purchasers.


11
     FTC v. Actavis, Inc., 570 U.S. 756, 133 S. Ct. 2223, 2229 (2013).



                                                           17
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   18 18 of 81
                                                                      of 81



        46.      Since passage of the Hatch-Waxman Amendments, every state has adopted laws

that either require or permit pharmacies to automatically substitute AB-rated generic equivalents

for brand prescriptions (unless the prescribing physician has specifically ordered otherwise).

Substitution laws and other institutional features of pharmaceutical distribution and use create

the economic dynamic that the launch of AB-rated generics results both in rapid price decline

and rapid sales shift from brand to generic purchasing. Once a generic equivalent hits the

market, the generic quickly captures sales of the corresponding brand drug, often capturing 80%

or more of the brand’s sales within the first six months. In a recent study, the Federal Trade

Commission (“FTC”) found that on average, within a year of generic entry, generics had

captured 90% of corresponding brand drug sales and (with multiple generics on the market)

prices had dropped 85%.12 As a result, competition from generic drugs is viewed by brand drug

companies, such as Forest, as a grave threat to their bottom lines.

        47.      Generic competition enables all members of the proposed Class to: (a) purchase

generic versions of the drug at substantially lower prices; and/or (b) purchase the brand drug at a

reduced price.

        48.      Until a generic version of the brand drug enters the market, however, there is no

bioequivalent generic drug to substitute for and compete with the brand drug, and therefore the

brand manufacturer can continue to profitably charge supracompetitive prices.                        Brand

manufacturers, such as Forest, are well aware of generics’ rapid erosion of their brand sales.

Brand manufacturers thus seek to extend their monopoly for as long as possible, sometimes (as

here) resorting to illegal means.

12
  See FTC, PAY-FOR-DELAY: HOW DRUG COMPANY PAY-OFFS COST CONSUMERS BILLIONS (Jan. 2010) (“FTC Pay-
for-Delay Study), available at http://www.ftc.gov/sites/default/files/documents/reports/pay-delay-how-drug-
company-pay-offs-cost-consumers-billions-federal-trade-commission-staff-study/100112payfordelayrpt.pdf (last
accessed June 6, 2014).



                                                    18
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   19 19 of 81
                                                                      of 81



                1.   As the Number of Generic Products on the Market Increases,
                Competition Increases, and Prices Decrease.

        49.     Once multiple generic competitors enter the market, the competitive process

accelerates and multiple generic sellers typically compete vigorously with each other over price,

driving prices down toward marginal manufacturing costs.13

        50.     Soon after generic competition begins, the vast majority of the sales formerly

enjoyed by the brand shift dramatically to generic sellers. A 2011 FTC Study found that

generics captured 80% or more of sales in the first six months. 14 In the end, total payments to

the brand manufacturer of the drug decline to a small fraction of the amounts paid prior to

generic entry. This is so because, “[a]lthough generic drugs are chemically identical to their

brand counterparts, they are typically sold at substantial discounts from the brand price.

According to the Congressional Budget Office, generic drugs save consumers an estimated $8 to

$10 billion a year at retail pharmacies.          Even more billions are saved when hospitals use

generics.” 15

        51.     Once exclusivity is lost and generic entry occurs – an event sometimes referred to

as the “patent cliff” – the brand manufacturer can expect a significant drop in profits, as it is

forced to either compete by dramatically lowering prices, or accept dramatically lower sales.

The tradeoff of longer exclusivity rights in return for quick and effective generic entry after loss

of exclusivity was fundamental to the policies and procedures that Congress established in the



13
   See, e.g., Patricia Danzon & Li-Wei Chao, Does Regulation Drive Out Competition in Pharmaceutical Markets?,
J.L. & ECON. (Oct. 2000); Tracy Regan, Generic Entry and Price Competition in the Prescription Drug Market--18
Years after the Waxman-Hatch Act (Univ. of Miami, Dep’t of Econ., Working Paper, Feb. 14, 2004); R. Frank, The
Ongoing Regulation of Generic Drugs, NEW ENG. J. MED., v. 357, pp. 1993-96 & n.20 (Nov. 2007).
14
   FTC 2011 AG Study, at 66-67.
15
        FDA        WEBSITE,     GENERIC      DRUGS:     QUESTIONS      AND      ANSWERS,       available    at
http://www.fda.gov/drugs/resourcesforyou/consumers/questionsanswers/ucm100100.htm (last accessed June 6,
2014).




                                                     19
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  20 20 of 81
                                                                     of 81



Hatch-Waxman Act, and embraced by the states in their generic substitution laws (explained

below).

       52.     Nevertheless, confronted with an imminent loss of profits at the patent cliff,

pharmaceutical companies often seek to stall the impact of generic competition. One method

employed has been to enter into anticompetitive patent settlement agreements with multiple

generic manufacturers that include “contingent launch” provisions, which provide assurance to

the generic manufacturers that if they agree to delay launch until a widely-known, specific date,

none of their generic competitors will come to market earlier.

       53.     A second strategy is a “product extension” strategy whereby the branded

company facing a patent cliff develops a follow-on drug with a later patent expiration, and

encourages patients and their physicians to switch from the drug going off patent to the new

version of the drug. Because generic versions of the original drug will not be AB-rated to the

new version of the drug, if physicians write prescriptions for the new version instead of the

original version, then generic entry will be thwarted – even if, in practice, the cost savings

offered by the generic drug far outweigh any advantages offered by the new version of the drug.

Sometimes these follow-on drugs may be truly better than the original drug. In other instances,

such as here, the new versions of the drug offer little to no therapeutic advantage over the prior

versions, and the reformulation of the drug is merely an attempt to game the regulatory system

and interfere with effective price competition between branded and generic drugs. Efforts to

switch patients to a follow-on drug with little or no clinical benefit – solely for the purpose of

interfering with generic competition and extending the monopoly life of a drug franchise – is

sometimes referred to as “product hopping.”




                                               20
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   21 21 of 81
                                                                      of 81



         54.      In this case, Forest utilized both strategies to thwart generic competition: it

induced at least seven generic ANDA filers to delay launch until the same date – three months

after the expiration of the ‘703 patent – with agreements containing substantively identical

contingent launch provisions, then used the delay period that it had brokered to implement a

forced product hop from Namenda IR to Namenda XR, which offered no clinical benefit to

patients. 16

C.       Brand and Generic Companies Have Strong Financial Incentives to Agree to
         Anticompetitive Terms

         55.      An anticompetitive agreement entered into between the brand and first-filer

generic often subjects later ANDA filers to the delayed entry date agreed to between the brand

manufacturer and its conspiring first-filer generic.

         56.      In the absence of an anticompetitive agreement between the brand company and

the first-filers, the later ANDA filers have pro-competitive incentives. They are motivated to

expend resources to challenge the brand company’s patent (knowing that the first-filer generic is

also fighting a patent infringement suit) and to enter the market as early as possible.

         57.      When an anticompetitive agreement with the first-filer is already in place,

however, litigation becomes less attractive to later filers. The later generic manufacturers know

that the first-filer is not leading the charge against the brand’s patent (and has sometimes

stipulated to the validity or enforceability of the patents as part of an anticompetitive, reverse

payment settlement). The later generics have to bear the brunt of the litigation costs themselves,

and, upon prevailing in the patent litigation, expect to face competition from at least the first-filer

generics, and typically an authorized generic as well. The settlements between a brand and first-

16
   In fact, this switch was potentially detrimental to a patient population with a very fragile drug prescription
schedule – evidenced by the fact that, despite strong marketing efforts by Forest, doctors were initially unwilling to
switch their patients from Namenda IR to XR.



                                                         21
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   22 22 of 81
                                                                      of 81



filer generics will often provide that, if a later generic filer launches its generic before the

delayed date agreed to by the brand and the first-filer, the first-filer is permitted to launch then as

well – greatly reducing the incentive the later filer would otherwise have to continue fighting to

enter as soon as possible.

        58.     Thus, some later generics decide to simply give in to, or even join, the conspiracy

between the brand company and the first-filer generic and drop their challenges to the brand’s

patents and stay off the market until after entry by the first-filer.

        59.     Such agreements are fundamentally anticompetitive and are contrary to the goals

of the Hatch-Waxman statutory scheme. In particular, they extend the brand manufacturer’s

monopoly profits by blocking access to more affordable generic drugs, forcing purchasers to buy

the expensive brands instead.

        60.     Here, the large number of potential first-filing generics created a situation where

no single first-filing generic had expectations of the usual substantial revenues that first-filing

generics typically enjoy during the exclusivity period and thereafter. As a result, each of the

potential first-filer generics was incentivized to beat the competing first-filer generics to market

in order to maximize revenues and recover the expenses associated with the preparation and

prosecution of their ANDAs, as well as costs incurred in Hatch Waxman litigation with Forest

and Merz. In this context, however, their interests would be better served by agreeing to delay

launch in exchange for the elimination of any theoretical patent risk, but only if all other generics

collectively did the same. Otherwise, each first-filer would face the potentially substantial

economic detriment of being sidelined while other generics entered the market and exploited the

lucrative first-filer advantage (explained below).




                                                   22
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  23 23 of 81
                                                                     of 81



       61.     The anticompetitive Contingent Entry Agreements brokered by Forest and Merz,

and continuously performed by all parties to those agreements from their date of execution to the

present, have resulted in many years of unlawful monopolization in the market for Namenda and

its AB-rated generic equivalents, including, as described below, the exclusion of generic

competition for three months beyond the exclusionary scope of the ‘703 patent.

D.     Brand Companies Have Strong Financial Incentives to Introduce New Versions of
       Products Solely to Protect Their Monopoly Profits by Impeding Generic
       Substitution.

        71.    The threat of AB-rated generic competition creates a powerful incentive for brand

companies to protect their revenue streams. This incentive can prompt brand companies to

create innovative new products or new versions of old products that offer real medical benefits to

patients. It may also drive brand companies to seek to obstruct generic drug competition by

making changes to existing products that offer patients little or, as here, no clinical advantages

whatsoever, but are intended to interfere with the normal brand-to-generic competition

contemplated and encouraged by the Hatch-Waxman Act and various state laws.

       72.     Product hopping tactics can be an effective, albeit anticompetitive, way to game

the regulatory structure that governs the approval and sale of generic drugs, thereby frustrating

the efforts of federal and state law designed to promote and facilitate price competition in

pharmaceutical markets. As discussed in detail below, a brand company can interfere with the

mechanism by which generic drugs compete by making non-therapeutic changes to its branded

product, and can effectively prevent generic competition, not because the reformulated product is

an improvement over the original version of the product or is preferred by consumers, but simply

because it differs in strength, route of administration, or, as here, dosage form.

       73.     An AB-rating is particularly significant to a generic manufacturer because, under

Hatch-Waxman and most state generic substation laws (commonly referred to as Drug Product


                                                 23
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  24 24 of 81
                                                                     of 81



Selection laws (“DPS laws”)), pharmacists may (and in many states, must) substitute an AB-

rated generic version of a drug for the brand-name drug without seeking or obtaining permission

from the prescribing physician (unless the prescription is denominated “Dispense as Written” or

“DAW”).      Indeed, both Congress and state legislatures have actively encouraged generic

substitution because of their recognition that the economics of the pharmaceutical industry

prevent generic manufacturers from simultaneously (a) engaging in the type of heavy promotion

or “detailing” typically done by brand-name manufacturers, and (b) providing the enormous cost

savings to purchasers and consumers generated by generic drugs.

       74.     DPS laws are a critical element in facilitating lower-cost generic competition.

These laws permit effective price competition between branded and generic drugs at the

pharmacy. If pharmacists need to contact the physician to ask permission to substitute a generic

drug for the chemically-identified brand name drug each time the pharmacist filled a

prescription, that would significantly and unnecessarily increase the costs and time required for

dispensing generic drugs and impede the use of cheaper generic drugs.

       75.     The price competition at the pharmacy that DPS laws facilitate is the primary

mechanism by which generic drugs are able to compete and reach the market. Competition at

the pharmacy is especially important due to the unique characteristics of pharmaceutical markets.

Generic manufacturers take market share away from branded pharmaceuticals by making their

generic drugs available at a discount. They do not engage in expensive marketing to physicians

and patients as branded drug companies do. Significant marketing expenditures by a generic

manufacturer would likely increase the price of that generic and would not necessarily lead to

greater sales by the marketer because generic entry commoditizes the market. Thus when there

is more than one generic on the market, a generic manufacturer marketing its product to




                                               24
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   25 25 of 81
                                                                      of 81



physicians or patients has no way to guarantee that, once the physician is convinced to write a

prescription for the generic drug in question, that pharmacist will dispense that manufacturer’s

product rather than one manufactured by another generic manufacturer.

        76.      Because it typically would not make economic sense for a generic manufacturer

to market its drug to patients and doctors, the primary means by which generic manufacturers

obtain sales is through price competition at the pharmacy, made possible through the application

of DPS laws. Indeed, this is fundamental to the existing regulatory framework. For these

reasons, among others, the Federal Trade Commission explained in a recent amicus brief that

“[a]s a practical matter, if a generic cannot be substituted at the pharmacy counter, the

economically meaningful market for the generic product disappears.” 17

        77.      AB-rated generic competition enables purchasers to (a) purchase generic versions

of brand-name drugs at substantially lower prices, and/or (b) purchase the brand-name drug at

reduced prices. However, until generic manufacturers enter the market with an AB-rated generic

product, there is no bioequivalent generic drug which competes with the brand-name drug and

therefore, the brand-name manufacturer can continue to charge supra-competitive prices

profitably without losing all or a substantial portion of its brand-name sales.

        78.      This statutorily mandated process, however, can be anticompetitively manipulated

when brand-name drug companies, like Forest here, introduce another version of an already-

existing drug that is no safer and no more effective than the original version (the “new” version

is typically a minor, non-therapeutic reformulation), and switch the market to the “new” version

thereby causing the conversion of prescriptions for the original drug to be written for the “new”

17
   Brief for Federal Trade Commission as Amicus Curiae at 9, Mylan Pharms., Inc. v. Warner Chilcott Pub. Co., No.
12-3824 (E.D.Pa. Nov. 21, 2012) [hereinafter “FTC Mylan Amicus Brief”], available at
http://www.ftc.gov/sites/default/files/documents/amicus_briefs/mylan-pharmaceuticals-inc.et-al.v.warner-chilcott-
public-limited-company-et-al./121127doryxamicusbrief.pdf.



                                                       25
       Case 1:15-cv-07488-CM-RWL
         Case                     Document
               1:15-cv-07488-CM Document 26 29Filed
                                                 Filed 10/14/15Page
                                                    10/13/15     Page
                                                                    26 26 of 81
                                                                       of 81



version. The result is that, by the time generic versions of the original brand-name drug reach

the market, there are few, if any, prescriptions being written for the original brand version and,

because there is some slight clinically insignificant difference between the generic drug and the

“new” brand drug (e.g., dosage form), state substitution laws will not allow the pharmacist to

substitute the less-expensive generic for the more-expensive brand. Due to the barriers that

prevent effective competition between generics and branded drugs at the pharmacy when state

generic substitution laws do not act to facilitate substitution, the branded manufacturer will thus

avoid the “patent cliff” that the Hatch-Waxman Act seeks to promote.

         79.      Successful implementation of a product hopping strategy typically requires that

patients be switched prior to generic entry. Accomplishing the switch at this time ensures that

the generics have no chance to compete for those patients via the more efficient mechanisms that

the state substitution laws provide. As the FTC explained recently: “[i]f the brand manufacturer

reformulates its product before a generic receives FDA approval,” then the generic manufacturer

is unlikely to be able to make significant sales with a generic version of the original branded

drug. 18 Instead, “the generic’s only practical option is to go back to the drawing board and

reformulate its own product to be bioequivalent to the brand reformulation and thus substitutable

at the pharmacy.” 19 Of course, even that strategy will not work if the new formulation is patent

protected or if the brand decides to implement yet another reformulation. 20


18
   FTC Mylan Amicus Brief, p.10.
19
   Id.
20
   The barriers to entry by a generic drug manufacturer are high. Such companies must first formulate a non-
infringing generic version of the brand name drug; conduct bioequivalence studies and other studies needed to
support the ANDA; file the ANDA and work with FDA on any issues that arise regarding approval; either challenge
relevant patents or wait for them to expire; wait for expiration of any applicable regulatory exclusivities; and invest
in manufacturing facilities for the commercialization of the product. It is not economically rational for generic
manufacturers to engage in these costly activities until regulatory and patent exclusivity expirations near. This is all
the more so when generic companies have already heavily invested in formulating and pursuing FDA approval of a
generic version of a brand name drug only to have the brand name manufacturer make a therapeutically meaningless



                                                          26
          Case 1:15-cv-07488-CM-RWL
            Case                     Document
                  1:15-cv-07488-CM Document 26 29Filed
                                                    Filed 10/14/15Page
                                                       10/13/15     Page
                                                                       27 27 of 81
                                                                          of 81



            80.    Importantly, once a brand manufacturer has successfully achieved a switch to a

follow-on product, it can expect that most “switched” patients will not make a second switch

back to the generic version of the original product (when the generic is released). There are

several reasons why this is the case, all generally relating to the ineffectiveness and inefficiency

of price competition by generics in the absence of the application of generic substitution laws.

First, as explained above, it would not make business sense for generic manufacturers to engage

in marketing efforts to encourage physicians and patients to switch patients’ prescriptions back

to a generic version of the original drug – and doing so would undermine the feasibility of selling

low cost generic drugs.

            81.    Second, absent a specific request from a patient, physicians are unlikely to act on

their own to switch the patient back. As explained by the FTC: “The physician – who selects

the drug product but does not pay for it – has little incentive to consider price when deciding

which drug to prescribe.” 21

            82.    Third, while patients are concerned about price, they are frequently unaware that

comparable, lower-cost generic drugs are on the market (and as noted, it is unfeasible for generic

manufacturers to market to them).

            83.    Finally, while insurers may be aware of competing generics and motivated to

encourage switching, they face substantial challenges in doing so. Even when they engage in




formulation change and switch the market to that new formulation for the anticompetitive purpose of thwarting
meaningful competition from the existing generic product. This puts the generic manufacturer in the position of
having to scrap its investment in the initial generic version of the drug and re-invest in developing a second generic
product equivalent to the next version of the branded counterpart drug, all in the hopes that additional switches will
not take place prior to approval and launch of the second generation generic product. See, generally, Abbott
Laboratories v. Teva Pharm. USA, Inc., 432 F.Supp.2d 408 (D. Del. 2006).
21
     Id. at p.6.



                                                         27
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  28 28 of 81
                                                                     of 81



substantial efforts to encourage patients to switch, these efforts are frequently very costly, and

may have limited success.

       84.     There are various tactics that a branded manufacturer may use to try to encourage

physicians and patients to switch to its new follow-on drug prior to generic entry. Commonly,

the company will aggressively promote the follow-on drug and stop marketing the original drug.

The company will typically advocate to physicians that the new product is superior and should

be prescribed instead of the original. At the extreme end of the spectrum, a pharmaceutical

company may seek to force physicians and patients to make the switch to the new drug. This

might be accomplished by announcing that the original product will be discontinued on a

specified future date, restricting the distribution and availability of the original drug, or

completely removing the original product from the market and leaving patients with no other

option but to switch.

       85.     For a drug manufacturer seeking to implement a product extension strategy by

compelling patients to switch drugs, it is especially important that the branded drug manufacturer

take action before a generic enters the market. Prior to generic entry, the branded manufacturer

controls all drug sales for the original drug and can use the tactics described above effectively to

move patients from one of its own drugs to another. But after generic entry, there will be

effective price competition between the original branded drug and generic substitutes as a result

of the application of generic substitution laws, and most of the patients taking the original drug

will likely switch to the generic version. Once that happens, the brand manufacturer still has the

opportunity to compete on the merits, that is, to market to patients and physicians to convince

them that the new, reformulated drug is worth the extra cost as compared to the generic. But the




                                                28
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  29 29 of 81
                                                                     of 81



opportunities available to the brand manufacturer to manipulate prescribing practices become

much more limited.

       86.    As described below, in the case of Namenda, Forest implemented a product hop

scheme designed to force physicians and patients to switch from the original version of Namenda

to Namenda XR. In most cases, drug companies try to engineer a “soft switch” to the new

version of the drug by heavily marketing it and arguing their best case as to its clinical

superiority – without creating artificial barriers to the use of the original drug. In this case,

however, Forest was not satisfied with that strategy because not many patients switched

voluntarily, as doctors were hesitant to disrupt the delicate medication-taking routines of

Alzheimer’s patients without a medical reason. So, instead, in order to perpetuate its monopoly

profits for several more years, Forest chose to implement a “hard switch” to force patients to

switch to Namenda XR, whether they wanted to or not.

       87.    Defendants began implementing the hard switch in February 2014 by, among

other things, widely publicizing that the original version of Namenda would soon be

discontinued, thus leaving patients and their physicians with no choice but to use Namenda XR

instead. Forest also sought to have the Centers for Medicare and Medicaid Services remove

Namenda IR from the reference list that health plans serving Medicare patients use to determine

which drugs to approve for payment. Finally, Forest took steps to make Namenda IR

significantly more difficult to obtain by signing an exclusive distribution contract in November

2014 for Namenda IR engaging Foundation Care, a mail-order-only pharmacy, to remove

Namenda IR from all retail store shelves effective January 2015 (according to the agreement).

The agreement also provides that patients seeking to purchase Namenda IR must, in addition to a

prescription, provide a physician certification that it is medically necessary for them to take




                                               29
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   30 30 of 81
                                                                      of 81



Namenda IR specifically, instead of XR. Forest projected that the transaction costs of obtaining

Namenda IR through this method would ensure that less than 3% of current IR users obtained IR

through Foundation Care.

        88.      Forest’s forced switch was an effort to game the regulatory system and

manipulate patients and physicians through business practices that had no real business purpose

other than to impede competition from cheaper generic drugs and perpetuate Forest’s monopoly

profits. A physician recently aptly described Forest’s conduct in a complaint to the company as

immoral and unethical. 22        It also constitutes unlawful monopolization and an unreasonable

restraint of trade in violation of state and federal antitrust laws.

        89.      After a product hop, generic manufacturers with AB-rated generic version of the

old brand formulation have very limited options for marketing their product, all of which result

in significantly higher prices for purchasers: (a) implement their own extensive sales and

marketing campaign for their generic drug, which dramatically increases the price for the product

(and, as a practical matter, acts as a barrier to meaningful market entry); (b) abandon altogether

their generic product, meaning no generics are available; or (c) enter as a normal generic in a

greatly and artificially diminished segment of the market resulting in dramatically lower sales

and savings to purchasers.

                                        V.       Statement of Facts

        A.       Alzheimer’s Disease and Namenda.

        90.      Memantine hydrochloride, branded and marketed by Forest as Namenda in the

United States, is an N-methyl-D-aspartate (“NMDA”) receptor antagonist. Essentially, Namenda

22
   In addition, the media recently quoted an Alzheimer’s patient describing Forest’s tactic in this way: “They are
yanking the rug right out from under me…And that is not fair play.” See Jonathan Lapook, Forced Switch? Drug
Cos. Develop maneuvers to hinder generic competition, CBS News, Aug. 28, 2014,
http://www.cbsnews.com/news/drug-companies-develop-maneuvers-to-hinder-generic-competition/.



                                                       30
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  31 31 of 81
                                                                     of 81



works to prevent the overstimulation by glutamate, an amino acid that excites nerves, and in

excess, is a powerful nerve-cell killer. Namenda is the only NMDA antagonist approved by the

FDA for treatment of Alzheimer’s in the United States, and has been approved for use in patients

with moderate and severe Alzheimer’s disease.

       91.    Alzheimer’s disease is a progressive and irreversible disease of the brain that is

the most common cause of dementia worldwide. It currently afflicts over five million Americans

and is the sixth leading cause of death in the United States. As the population continues to live

longer, the number of people living with Alzheimer’s is expected to triple by 2050. Alzheimer’s

disease is a devastating neurodegenerative disorder. Patients with Alzheimer’s progressively

deteriorate, with worsening symptoms, until death. While the symptoms of Alzheimer’s vary

from patient to patient, common early symptoms include short-term memory loss, difficulty

performing familiar tasks, disorientation, trouble with language, and mood swings. Patients with

more severe Alzheimer’s may be unable to walk or be unable to recognize and communicate

with family members and friends. As the disease progresses, patients are unable to function

independently, and become more and more dependent on caregivers.

       92.    Currently, there is no cure for Alzheimer’s. Patients depend on medications

approved to treat the disease, hoping that the medications may be able to temporarily alleviate

some symptoms or slow down the progression of others.

       93.    Memantine had been marketed in Germany since the 1990s for the treatment of

dementia, among other things. On or about June 2000, Merz, a German company, and Forest

entered into a license and cooperation agreement for the development of memantine to be used

for Alzheimer’s.   As part of the agreement, Forest obtained exclusive rights to market a

memantine product in the United States under Merz’s ‘703 Patent.




                                                31
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   32 32 of 81
                                                                      of 81



          94.   In December 2002, Forest submitted a New Drug Application (“NDA”) to FDA,

seeking approval to market memantine hydrochloride tablets (5mg and 10mg) – branded as

Namenda – for the treatment of Alzheimer’s.

          95.   The ‘703 Patent is listed in the Approved Drug Products with Therapeutic

Equivalence Evaluations (commonly referred to as the “Orange Book”), which identifies and

provides certain information regarding the patent covering Forest’s memantine hydrochloride

product (Namenda). The ‘703 Patent, obtained in 1991, originally had an expiration date of April

11, 2010.

          96.   Forest’s New Drug Application (“NDA”) No. 21-487 was approved in October

2003 for Namenda immediate release (IR) tablets.

          97.   In January 2004, Forest commercially launched Namenda IR tablets in the United

States.

          98.   Namenda became a very successful drug for Forest, with revenues of over $1.75

billion in the twelve months ending in June 2014. Forest also sells an oral solution version of

Namenda, which has less than 5% of Namenda’s sales, and is not material here.

          99.   In the years leading up to 2010, Forest sought to extend the life of the ‘703 Patent

as a means of extending its monopoly profits on Namenda. To do so, Forest submitted an

application to the Patent and Trademark Office (“PTO”) seeking a five-year patent extension, the

maximum allowed under Hatch-Waxman, for the time spent obtaining FDA approval for

Namenda IR tablets (during which time the patent “clock” was ticking but Forest could not

market the drug). In March 2009, the PTO granted Forest the entire five-year extension. As a

result, the ‘703 Patent was set to expire on April 11, 2015, rather than the original date of April

11, 2010.




                                                 32
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  33 33 of 81
                                                                     of 81



       100.    In January 2014, Forest submitted an application to FDA seeking an additional six

months of pediatric exclusivity for Namenda IR tablets, based on studies regarding the use of

memantine in pediatric patients with autism.

       101.    On June 18, 2014, Forest announced that FDA had granted its request for six

months of pediatric exclusivity for memantine. As a result, the earliest date that a generic

manufacturer who did not wish to challenge the ‘703 Patent could come to market with an AB-

rated equivalent of Namenda IR was October 11, 2015.

B.     Forest Sues the Generics Triggering a Thirty-Month Hatch-Waxman Stay

      102.     Beginning in late 2007, numerous generic manufacturers filed ANDAs with FDA

seeking to market AB-rated generic formulations of Namenda IR, contending via Paragraph IV

certifications that the ‘703 Patent was invalid and/or not infringed by their products. Pursuant to

certain provisions of the Hatch-Waxman Act, Forest filed patent infringement lawsuits against

each company that filed an ANDA for Namenda.

      103.     In the twelve-week period beginning on October 16, 2007, at least twelve (12)

generic manufacturers sent Paragraph IV certification notices to Forest indicating that each had

submitted ANDAs seeking approval to manufacture, use, or sell generic immediate release

memantine hydrochloride in the U.S. prior to the expiration of the ‘703 Patent (which they

claimed was invalid, not infringed by their proposed products, or both): (1) Barr (now Teva) sent

notice on October 16, 2007; (2) Teva sent notice on November 30, 2007; (3) Cobalt (now owned

by Allergan) sent notice on December 6, 2007; (4) Orchid sent notice on December 11, 2007; (5)

Lupin sent notice on December 14, 2007; (6) Upsher-Smith sent notice on December 14, 2007;

(7) Wockhardt sent notice on December 15, 2007; (8) Genpharm sent notice on December 18,

2007; (9) Mylan sent notice on December 18, 2007; (10) Interpharm (now Amneal) sent notice




                                                33
        Case 1:15-cv-07488-CM-RWL
          Case                     Document
                1:15-cv-07488-CM Document 26 29Filed
                                                  Filed 10/14/15Page
                                                     10/13/15     Page
                                                                     34 34 of 81
                                                                        of 81



on December 19, 2007; (11) Sun sent notice on December 20, 2007; and (12) Dr. Reddy’s sent

notice on January 4, 2008.

        104.   In January 2008, Forest and Merz filed Hatch-Waxman lawsuits in the United

States District Court for the District of Delaware against Barr, Cobalt, Lupin, Orchid, Teva,

Upsher-Smith and Wockhardt alleging infringement of the ‘703 Patent. Merely by filing these

suits (and regardless of their merit or lack thereof), Forest and Merz triggered automatic 30-

month Hatch-Waxman stays, continuing through mid-2010, during which time the FDA could

not approve any of the aforementioned generics’ ANDAs for AB-rated equivalents to Namenda

tablets. These lawsuits were consolidated in June 2008 under lead case No. 08-cv-00021 (D.

Del).

        105.   Also in January 2008, Forest and Merz filed Hatch-Waxman lawsuits in the

United States District Court for the District of Delaware against Dr. Reddy’s, Genpharm,

Interpharm (for whom Amneal was later substituted), Mylan, and Sun alleging infringement of

the ‘703 Patent. Merely by filing these suits (and regardless of their merit or lack thereof),

Forest and Merz triggered automatic 30-month Hatch-Waxman stays, continuing through mid-

2010, during which time the FDA could not approve any of the aforementioned generics’

ANDAs for AB-rated equivalents to Namenda tablets. These lawsuits were later consolidated

under lead case no. 08-cv-00052 (D. Del.).

        106.   On information and belief, Barr, Teva Pharmaceuticals USA, Inc., Cobalt,

Amneal, Upsher-Smith, Lupin, Mylan, Sun, Orchid, Dr. Reddy’s, and Wockhardt (the Potential

First-Filing Generics), were all first to file substantially complete ANDAs with Paragraph IV

certifications to the ‘703 Patent. As a result, each would be entitled to 180-days of shared

marketing exclusivity for generic Namenda, and any one of them could trigger the running of the




                                              34
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  35 35 of 81
                                                                     of 81



180-day exclusivity period by either launching a product or obtaining a judgment of invalidity or

non-infringement of the ‘703 Patent.

C.     Generics Get Tentative Approvals; Forest and the First-to-File Generics Enter
       Contingent Entry Agreements Prior to the Expiration of the Thirty-Month Stays;
       First-to-File Generics Agree to Delay Launch Beyond the Exclusionary Scope of the
       ‘703 Patent.

       107.    On information and belief, the 30-month stays barring the FDA from finally

approving the first-to-file generics’ ANDAs would begin to expire in or about April 2010 (the

expiration dates vary slightly from generic to generic because the stay commences for each

generic on the date of Forest’s receipt of that generics’ paragraph IV notice).


       108.    From 2007 to 2009, during the 30-month stay period, Forest and Merz litigated

the patent infringement suits against the multitude of generic challengers in the United States

District Court for the District of Delaware.

       109.    The generic defenses asserting that the claims of the ‘703 Patent were anticipated

and obvious in view of the prior art and that Forest improperly sought and obtained a longer

patent term extension than that to which it was entitled, among others, were strong. As such,

litigation with any generic challenger through trial posed a significant risk of patent invalidation

for Forest. In addition, one or more of the generic challengers advanced non-infringement

defenses that posed additional risk to Forest.

       110.    Forest was aware that the ‘703 Patent was weak and that it would not be able to

obtain injunctions to stop any of the first-filing generics from launching their generic versions of

Namenda once they started receiving final FDA approval of their ANDAs from the FDA (which

was imminent by mid-2010).

       111.    In order to protect and maintain its monopoly power in the Memantine

Hydrochloride Market, Forest would have to induce all of the Potential First-Filing Generics to


                                                 35
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  36 36 of 81
                                                                     of 81



refrain from selling their generic versions of Namenda, because the entry of even a single generic

product would quickly cause the majority of memantine hydrochloride purchases to switch from

Forest’s branded Namenda to the substantially less-expensive, but bioequivalent, generic

version(s) of Namenda.

       112.    The Potential First-Filing Generics were individually motivated to enter the

market as quickly as possible. With the large and unprecedented number of potential first-filers,

the Potential First-Filing Generics (at least some of whom had a history of prior at-risk launches)

were particularly motivated to be the first to obtain FDA approval and launch in order to

capitalize not only on being the exclusive generic on the market for an indefinite period, but also

on the continuing benefits of having been first to establish supply relationships with large

purchasers like major pharmacies and retail chains (i.e., the “first-filer advantage”). Each of the

Potential First-Filing Generics would have to receive something of immediate and substantial

value (such as cash and/or protection from competition with each other) in order to induce them

to forego their right to profit from the sale of their generic versions of immediate release

Namenda tablets.

       113.    With trial scheduled in the Delaware patent litigation against the various generic

defendants in 2010, Forest and Merz settled with the following generic companies on or about

the following dates: July, 2009 – Cobalt Laboratories, Inc. and Teva Pharmaceuticals;

September, 2009 – Upsher-Smith Labs, Wockhardt, Ltd., Amneal Pharmaceuticals, LLC, and

Apotex Corp.; October, 2009 – Sun Pharmaceuticals; December 2009 – Lupin Pharmaceuticals

and Dr. Reddy’s Labs; April, 2010 – Orchid Chemicals & Pharmaceuticals; July, 2010 – Mylan

Pharmaceuticals, and several other generic ANDA filers.




                                                36
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  37 37 of 81
                                                                     of 81



       114.    In connection with these settlements, Forest entered into licensing agreements

with Teva (including Barr, which had become subsidiary of Teva), Amneal, Dr. Reddy’s, Lupin,

Sun, Upsher-Smith, Cobalt (later acquired by Watson Pharmaceuticals Inc., which was later

acquired by Actavis, which is now operating as Allergan), Mylan, Orchid, and Wockhardt

whereby Forest provided to each of them the assurance and protection that if it agreed to delay

competing until January 11, 2015, none of its generic competitors would come to market earlier

and enjoy first-filer sales while the settling generic remained on the sidelines. On information

and belief, Forest additionally provided undisclosed amounts of cash to each settling generic. In

exchange, the foregoing generic defendants agreed to discontinue their efforts to challenge the

‘703 Patent and all of them agreed to refrain from launching their generic products until the exact

same day approximately five years later.

       115.    At the same time that these settlement agreements were consummated (or shortly

thereafter), Forest and Merz settled their Hatch Waxman infringement suits against any and all

other Potential First-Filing Generics. On information and belief, Forest provided each of these

generics the same protections against competition from other the generics through “contingent

launch” provisions as well as other valuable consideration. In exchange, each settling generic

agreed to discontinue their efforts to challenge the ‘703 Patent and refrain from launching their

generic products until the exact same day provided in Forest’s settlement agreements with all

other generic manufacturers.

       116.    On information and belief, each of the Contingent Entry Agreements contains a

provision extending the agreed generic launch date from January 11, 2015 to July 11, 2015 in the

event that, subsequent to the consummation of the agreements, Forest was granted an additional

six-month pediatric exclusivity period.




                                                37
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   38 38 of 81
                                                                      of 81



           117.   As is apparent from the fact that the Contingent Entry Agreements provide for

identical generic entry dates, the agreements were either negotiated with the simultaneous

participation of multiple Potential First-Filing Generics or were negotiated under circumstances

where settling Potential First-Filing Generics were informed of the negotiated entry dates of

other Potential First-Filing Generics. In fact, some of the settlements with certain Potential First-

Filing Generics were signed on the same days in July 2009, September 2009, and July 2010.

           118.   In total, Forest settled approximately a dozen patent infringement lawsuits with

generic challengers in the one-year period leading up to the anticipated expiration of the 30-

month stays in mid-2010. 23 By that time, all patent challenges brought by potential first-filing

generic manufacturers seeking to market generic versions of immediate release Namenda tablets

before the expiration of the ‘703 Patent were settled and dismissed.                As expected, on or about

July 11, 2015, several generic challengers launched their versions of immediate release Namenda

tablets onto the U.S. market. 24

           119.   Neither the defendants nor the Potential First-Filing Generics have publicly

disclosed the amount of the cash payments (or other valuable consideration) given by Forest and

Merz to the Potential First-Filing Generics pursuant to the Contingent Entry Agreements. On

information and belief, the value of Forest and Merz’s aggregate payments to all of Potential

First-Filing Generics pursuant to the Contingent Entry Agreements total many millions of

dollars.


23
   See Forest’s September 2009 Form 10Q filed with the United States Securities and Exchange Commission, pp.
15-16, available at http://www.sec.gov/Archives/edgar/data/38074/000003807409000048/forest10qsep09.htm;
Forest press release dated July 22, 2010, available at http://investor.frx.com/press-release/corporate-news/forest-
laboratories-inc-and-merz-pharma-gmbh-co-kgaa-settle-namenda-pat.
24
   Prior to the end of July 2015, Amneal, Dr. Reddy’s, Lupin, and Mylan had all launched their generic versions of
Namenda IR. In addition, defendant Allergan (formerly Actavis), successor in interest to Forest, had launched an
authorized generic. With so many generics on the market, the price of generic Namenda IR quickly plummeted to
less than 10% of the July 2015 Namenda IR brand wholesale acquisition cost (“WAC”) price.



                                                       38
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  39 39 of 81
                                                                     of 81



       120.     On information and belief, every Contingent Entry Agreement contained an

identical, or nearly identical, contingent launch provision. That is, each agreement provided that

the given generic manufacturer may enter the market on the earlier of: (a) the expiration of the

agreed delay period, or (b) the date on which any other generic manufacturer launches a generic

product.

       121.    The Contingent Entry Agreements were interdependent and anticompetitive in

that each Potential First-Filing Generic would not have agreed to a July 11, 2015 entry date

without the assurance that a generic competitor could not come to market earlier. None of the

Potential First-Filing Generics would have agreed to delay entry for as long as they did (if at all)

without similar agreements from all of their would-be generic competitors because: (1) they were

all motivated to enter the market as soon as possible, and (2) they were motivated to avoid the

economic detriment of being “stuck on the sidelines” while competing generics marketed their

products. Thus the contingent launch provisions were the mechanism to facilitate a coordinated

or collusive agreement – the means by which individual market delay concessions were knit

together in a network of related, horizontal agreements among direct competitors. With that key

provision in all of the Contingent Entry Agreements, the Potential First-Filing Generics

understood and were assured that each of them shared the same set of risks and rewards.

       122.    In addition to being anticompetitive because they facilitated and/or coordinated

collusive conduct between the Potential First-Filing Generics, the Contingent Entry Agreements

were independently unlawful and anticompetitive because the six-month extension of the agreed

launch date from January 11, 2015 to July 11, 2015 extended the agreements not to compete

beyond the expiration of the ‘703 patent on April 11, 2015.




                                                39
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  40 40 of 81
                                                                     of 81



       123.    An award of pediatric marketing exclusivity by FDA does not extend or alter the

expiration date of any patent:

       A pediatric exclusivity period is granted by the FDA to NDA holders under 21
       U.S.C. § 355a. In contrast, a patent term extension is granted by the PTO to patent
       owners. A pediatric exclusivity period is granted because the NDA holder
       performs and reports on tests that the FDA requests it to do. It provides that, for
       six months after the patent on the drug expires, it will not permit anyone else,
       subject to certain exceptions, to market the finished drug product described in the
       NDA…During the instant pediatric exclusivity period, others were free to make,
       sell, offer to sell, import and use the compounds claimed in the [patent at issue].
       Pediatric exclusivity is a regulatory privilege; a patent term extension is a patent
       privilege.

Altana Pharma AG v. Teva Pharms. USA, Inc., 2012 U.S. Dist. LEXIS 79166, 8-9 (D.N.J. June

7, 2012).

       124.    “Pediatric exclusivity attaching to the end of a patent term is not a patent term

extension under 35 U.S.C. 156. Rather, it extends the period during which the approval of an

abbreviated new drug application (ANDA) . . . may not be made effective by FDA.” Guidance

for Industry: Qualifying for Pediatric Exclusivity Under Section 505A of the Federal Food. Drug

and Cosmetic Act, U.S.F.DA. (Revised, September 1999).

       125.    Under FDA regulations, pediatric exclusivity, if and when it is granted, applies

only on an ANDA-by-ANDA basis. It does not attach to the end of a patent for an ANDA filer

who maintains a Paragraph IV certification to the patent (unless the patent is found valid,

enforceable, and/or infringed by that ANDA filer’s proposed products).              21 U.S.C. §

355a(c)(1)(B)(ii).

       126.    The Supreme Court held in Brulotte v. Thys Co., 379 U.S. 29 (U.S. 1964) that:

       [A]ny attempted reservation or continuation in the patentee or those claiming
       under him of the patent monopoly, after the patent expires, whatever the legal
       device employed, runs counter to the policy and purpose of the patent laws.

Id. at 31 (quoting Scott Paper Co. v. Marcalus Co., 326 U.S. 249, 256 (1945)).



                                               40
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   41 41 of 81
                                                                      of 81



          127.   Earlier this year, the Supreme Court reaffirmed Brulotte and its progeny, holding

that an agreement not to compete based upon an expired patent “would impermissibly undermine

the patent laws”:

          Allowing even a single company to restrict its use of an expired or invalid patent,
          we explained, would deprive the consuming public of the advantage to be derived
          from free exploitation of the discovery. And to permit such a result, whether or
          not authorized by express contract, would impermissibly undermine the patent
          laws.

Kimble v. Marvel Entm’t, LLC, 192 L. Ed. 2d 463, 469 (U.S. 2015) (internal quotations and

citations omitted).

          128.   Accordingly, it is black letter patent law that a patentee’s attempt to restrict the

use of the invention beyond the expiration of the patent would be unenforceable and unlawful

per se.

          129.   Here, on information and belief, all of the Potential First-Filing Generics

maintained Paragraph IV certifications to the ‘703 Patent despite the settlement of the patent

lawsuits with Forest. As a result, for all of those Potential First-Filing Generics, pediatric

exclusivity did not attach to the ‘703 Patent and, to the extent the Contingent Entry Agreements

prevented competition by the Potential First-Filing Generics’ after April 11, 2015, they were

independently unlawful.

          130.   Had the Potential First-Filing Generics launched generic versions of Namenda IR

upon receiving FDA final approval in 2010, or at the conclusion of the trials for patent

infringement (as several of them were preparing and poised to do prior to the Contingent Entry

Agreements), or at the termination of Forest’s patent rights on April 11, 2015, the generics would

have rapidly driven down the price of memantine hydrochloride, creating a commoditized

market with little or nothing to distinguish one generic from another except price (as happened in



                                                  41
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  42 42 of 81
                                                                     of 81



the weeks following generic launch in July 2015).        Price competition between generics is

responsible for much of the dramatic price drop that accompanies generic entry.

       131.    Absent Forest and Merz’s unlawful contingent launch provisions under the

Contingent Entry Agreements, Forest and each of the Potential First-Filing Generics would have

settled in a manner less restrictive of competition, resulting in much less delay of generic entry

than has happened with the contingent launch provisions in place. Absent the anticompetitive

settlement agreements, generic competition would have commenced sooner because one or more

of the following events would have occurred: (1) the generics would have prevailed in the patent

litigation; (2) the Potential First-Filing Generics would have launched “at risk” prior to the

resolution of the patent litigation; (3) Forest would have settled the litigation legally with an

earlier generic entry date; or (4) the Potential First-Filing Generics would have launched

immediately upon expiration of the ‘703 Patent in April 2015.

       132.    In January 2010, the FDA tentatively approved several generic ANDAs including

those of Orchid, Lupin, Wockhardt, and Amneal (formerly Interpharm), meaning that these

ANDAs were otherwise ready for approval, but could not receive final approval until the

expiration of the 30 month stay. Thereafter, Teva received tentative approval in March 2010,

followed by Mylan and Sun and Upsher-Smith in April 2010.

       133.    Potential First-Filing Generics received final FDA approval on the following

dates: Dr. Reddy’s on April 14, 2010; Sun on May 5, 2010; Teva on October 25, 2011; Orchid

on March 12, 2012; Amneal on April 10, 2015; and Lupin on April 10, 2015. Mylan received

tentative approval of its ANDA on April 2, 2010, with final approval following on January 30,

2015. Upsher-Smith received tentative approval of its ANDA on April 15, 2010, with final




                                               42
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  43 43 of 81
                                                                     of 81



approval following on July 31, 2015. But, because of the Contingent Entry Agreements, no

generic launched until on or after July 11, 2015.

D.     Effects of the Contingent Entry Agreements.

       134.    The Contingent Entry Agreements enabled each Potential First-Filing Defendant

to overcome the concern that it would not be in its independent economic interest to accept an

entry date as late as 2015.

       135.    The Contingent Entry Agreements enabled Forest to (a) delay entry of less

expensive generic versions of Namenda 5 and 10 mg strengths in the United States, (b) fix, raise,

maintain or stabilize the price of Namenda and its generic equivalents, (c) maintain a monopoly

in the United States market for Namenda and its generic equivalents, and (d) allocate the market

for Namenda and its generic equivalents exclusively to Forest through July 11, 2015.

       136.    The Contingent Entry Agreements had the effect of delaying competition for

memantine hydrochloride for as many as five to six years. But for these agreements, the

Potential First-Filing Generics would have begun marketing and selling their generic upon the

receipt of final approval (or on an earlier date as provided for in settlement agreements without

anticompetitive provisions).

       137.     Instead, as a result of the Contingent Entry Agreements, no generic launched a

generic equivalent of Namenda IR tablets prior to July 11, 2015.

       138.    In addition, Forest and the Potential First-Filing Generics, knew and intended that

their Contingent Entry Agreements would prevent other, later-filing generic companies from

launching their own generic products.

       139.    The Potential First-Filing Generics represented all of the generics who would be

entitled to market their generic versions of Namenda tablets for 180 days free from competition

from other generic Namenda tablets (other than an Authorized Generic (“AG”), which is a


                                                43
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  44 44 of 81
                                                                     of 81



generic product licensed by Forest to be sold under its brand NDA). The operation of the

Contingent Entry Agreements blocked any non-AG generic Namenda tablets from coming to

market until 180 days after the launch by one of the first-filing generics because the FDA will

not approve subsequently-filed ANDAs until the first-filers’ exclusivity period has run.

       140.    In other words, the Contingent Entry Agreements served as a “cork in the bottle.”

So long as there was not a ruling invalidating the ‘703 patent or holding it not infringed (which

would trigger the running of the first-filers’ 180 day exclusivity period), the delayed launch of

the first-filers’ generic products called for under the Contingent Entry Agreements prevented any

generic other than the Potential First-Filing Generics from entering the marketing until 180 days

after July 2015.

       141.    Thus, defendants’ Contingent Entry Agreements have delayed or prevented the

sale of generic Namenda IR tablets in the United States for years, and unlawfully enabled Forest

to sell Namenda tablets at artificially inflated, supracompetitive prices.

       142.    As described below, Forest intentionally structured the Contingent Entry

Agreements in a manner that would guarantee to Forest the time necessary to: (1) obtain FDA

approval of the new once-daily “Namenda XR” product, and (2) convert the Memantine

Hydrochloride Market from Namenda IR to Namenda XR.

E.     Forest Used the Delay that It Bought with the Anticompetitive Contingent Entry
       Agreements to Improperly Switch the Market from Namenda IR to Namenda XR,
       Greatly Reducing the Sales Available to Generic Equivalents of Immediate Release
       Namenda When they Eventually and Belatedly Enter the Market

       143.    With generic entry delayed for a significant period of time as a result of the

settlements, Forest transitioned to the next phase of its scheme to extend its monopoly profits on

Namenda and minimize the effects of the upcoming patent cliff: the “product extension”

strategy. To successfully retain substantial sales for its Namenda franchise after generic entry,



                                                 44
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  45 45 of 81
                                                                     of 81



Forest realized that it would have to accomplish two objectives: (1) introduce (or identify) a

follow-on product with a later patent expiration, and (2) successfully switch a large number of

patients to the new product. And, for the reasons explained previously (and further detailed

below), Forest also realized that it would need to achieve these goals before the generic form of

Namenda IR became available in the market.

       144.   Forest developed two new follow-on drugs with patent expiration dates

significantly later than that of Namenda IR. First, it reformulated Namenda as an extended-

release capsule (Namenda XR) to be taken once a day instead of twice daily. Second, it worked

to develop a fixed-dose-combination product that would include both memantine and donepezil

(the most commonly used acetylcholinesterase inhibitor, commonly abbreviated AChEI). The

patents claimed to cover Namenda XR expire in 2029, while the ‘703 Patent (claimed to cover

Namenda IR) expires in 2015. The patents that cover the new fixed dose combination expire

even later than the Namenda XR patents.

        1.    Forest Launched Namenda XR in June 2013 and Sought to Convert Patients from
              Namenda IR to Namenda XR.

       145.   On August 21, 2009, less than a month after it had announced the first wave of

settlements with generics challenging the Namenda IR patent, Forest submitted an NDA seeking

to market Namenda XR, a once-daily, extended-release reformulation of Namenda. In support of

its NDA, Forest submitted various studies supporting its claims of safety and efficacy for

Namenda IR. In its NDA submission, Forest did not submit any head-to-head studies comparing

the efficacy of Namenda XR to Namenda IR, nor did it otherwise demonstrate that Namenda XR

was more efficacious than Namenda IR.

       146.   On or about June 21, 2010, the FDA approved Forest’s NDA for Namenda XR,

but Forest chose not to immediately launch the supposedly improved formulation.



                                               45
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   46 46 of 81
                                                                      of 81



          147.   Acknowledging the status of the Hatch Waxman infringement suits against the

Namenda IR generic challengers as a factor in the launch timing of Namenda XR, Forest’s Chief

Operating Officer Larry Olanoff, explained: “We haven’t said anything yet on that timing of

launch; we’re really taking it into consideration the marketplace, the impact of finalizing our

own litigation activities around the immediate-release formulations as well as patents that are

pending for the modified-release formulation.” 25 While Forest initially emphasized that it was

waiting for the PTO to act on certain patent issues related to Namenda XR, 26 it stalled the launch

over a year-and-a-half after those issues were resolved. 27

          148.   With Namenda sales lagging in the fall of 2012, Forest continued to sit on the

allegedly improved Namenda XR product despite having been ready and able to launch the

product for years. Indeed, Forest seemed to not even consider expediting the Namenda XR

launch:

           In long term care, however, sales are below expectations…[W]e are currently taking
           steps to shore up Namenda in long-term care. This includes additional educational
           programs to physicians, nurse practitioners and consultant pharmacists who care for
           Alzheimer’s disease patients in nursing homes. And we continue to remain confident
           about the Alzheimer’s market and the Namenda revenue stream over the next several
           years. We expect Namenda to continue to be an important product for us. The mid-
           calendar 2013 launch of Namenda XR, a product that has a higher dose, a once-a-day
           formulation…should propel future growth for the Namenda franchise.

Forest Chief Commercial Officer Elaine Hochberg, Forest Laboratories F2Q13 Earnings Call

Transcript, October 12, 2012, pp. 3-4.


25
   See Forest Laboratories F1Q11 Earnings Call Transcript, July 20, 2010, p.9.
26
   According to Forest Chief Financial Officer, Francis Perrier, “[T]he XR strategy has been simmering in the
background for some time now. Again, we’re really waiting for the patent office to issue its complete published
patent, which we hope will come soon.” See Forest Laboratories F1Q12 Earnings Call Transcript, July 19, 2011,
p.10.
27
   On October 18, 2011, Forest CFO Francis Perrier announced that Forest “received notification today that the
USPTO has issued a second method of treating Alzheimer’s disease patent for Namenda XR…we currently
anticipate launching Namenda XR in later 2012 or early 2013.” See Forest Laboratories F2Q12 Earnings Call
Transcript, October 18, 2011, p.2.



                                                      46
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  47 47 of 81
                                                                     of 81



       149.    Forest ultimately launched Namenda XR in June 2013, three years after

obtaining FDA approval for the drug. The reason for the delay was to reap as much profit as

possible from Namenda IR prior to launching XR and cannibalizing the blockbuster

Namenda IR product. At the time Namenda XR was launched, Forest anticipated that

generics would enter in January 2015. The June 2013 launch would give Forest sufficient

time – 18 months – before generic entry to persuade health plans to put Namenda XR on a

preferred tier and start moving patients to Namenda XR.           With equivalent health plan

coverage for XR and IR, patients would be more likely to switch from Namenda IR to

Namenda XR prior to generic entry. Switching patients to Namenda XR prior to the launch

of generic memantine hydrochloride became the key to Forest’s profit strategy for Namenda.

       150.    Crucially, Forest realized that, to be successful, its product switch had to be

accomplished before cheaper generic versions of Namenda IR (“generic Namenda” or “generic

memantine”) tablets became available in the market. This is because when generic memantine

becomes available, there will be effective price competition between generic memantine and

Namenda IR at the pharmacy, and as a result, many patients that remain on Namenda IR tablets

after generic entry will likely switch to generic memantine. Forest knew that convincing these

patients (or their physicians or health insurers) to switch to Namenda XR based solely on the

merits of the different drugs would be very difficult. Forest would need to convince them to

leave an inexpensive generic drug and pay significantly more (possibly five times more) for a

different version of the very same drug (with no greater evidence of safety or efficacy) — solely

because it could be taken once a day instead of twice daily.

       151.    However, if Forest could manage to persuade patients, physicians, and insurers to

switch to Namenda XR prior to generic entry, then Forest would be able to prevent




                                                47
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  48 48 of 81
                                                                     of 81



manufacturers of generic memantine from engaging in effective price competition for these

patients. This is because generic memantine tablets will not be AB-rated to Namenda XR, and

therefore a pharmacist will not be able to substitute lower-priced generic memantine for

Namenda XR under state substitution laws. Rather, the pharmacist would have to obtain

physician consent for the substitution, which is time consuming and costly. Similar limitations

would also be faced by a health insurer or generic competitor that sought to convince a patient

to switch back to Namenda IR. By ensuring that generic manufacturers could not engage in

meaningful competition for the sales to the switched patients, Forest’s strategy made it much

more likely that Forest would be able to retain these sales once generic memantine became

available.

       152.   Consequently, Forest knew that switching a large portion of the Namenda

patient base to Namenda XR prior to entry of generic memantine tablets would — by

preventing the application of generic substitution laws and thus inhibiting effective price

competition — create significant practical barriers to generic competition that would allow

Forest to retain a significantly higher portion of its Namenda franchise sales in the face of

generic substitution than it would have otherwise.

       153.   With the launch of Namenda XR in 2013, Forest stopped actively marketing

Namenda IR and commenced an aggressive marketing campaign aimed at converting as many

Namenda IR patients to XR as possible prior to the launch of generic versions of Namenda IR in

July 2015.

       154.   In connection with the launch of Namenda XR in June 2013, Forest emphasized

the importance of switching patients from Namenda IR to Namenda XR in internal documents,




                                               48
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   49 49 of 81
                                                                      of 81



sales training, and public statements. For example, an executive made a speech at a Namenda

XR launch event:

                Our mission is to convert to Namenda XR and lift the franchise as a result
                of increased sales calls and combination therapy usage…Make no mistake
                about it, this is a sprint. We need to convert as much IR business to
                Namenda XR as quickly as possible.

          Another executive wrote in a draft speech:

                [T]he core of our brand strategy with XR is to convert our existing IR
                business to Namenda XR as fast as we can and also gain new starts for
                Namenda XR. We need to transition volume to XR to protect our
                Namenda revenue from generic penetration in 2015 when we lose IR
                patent exclusivity. 28

        155.    Also in June 2013, Forest’s senior marketing executives considered two

alternatives to the typical soft switch approach described above: completely discontinuing

Namenda IR; or technically leaving the drug on the market, but severely restricting patient

access with “limited distribution.” 29

        156.    In a presentation attached to a June 26, 2013 email between two of Forest’s

executives, the author notes that, with respect to Forest’s conversion strategy, “[e]ither [a

withdrawal or limited distribution] approach is unprecedented…[w]e would be operating in

unchartered territory.” The presentation also notes that “Prescribers, patients, caregivers may be

confused or dissatisfied with either withdrawal or limited distribution scenario and may choose

to discontinue Namenda treatment.” 30

        157.    Forest’s pricing of Namenda XR confirms that its new formulation provided no

material benefits over Namenda IR. Throughout the two-year period that Namenda XR was on


28
   See Redacted Opinion dated December 11, 2014 (“NYAG Opinion”), State of New York v. Actavis, et al., No.
1:14-07473 (S.D.N.Y.), ECF No. 80, at p.48 (Sweet, D.J.).
29
   NYAG Opinion at p. 48.
30
   NYAG Opinion at p.49.



                                                    49
         Case 1:15-cv-07488-CM-RWL
           Case                     Document
                 1:15-cv-07488-CM Document 26 29Filed
                                                   Filed 10/14/15Page
                                                      10/13/15     Page
                                                                      50 50 of 81
                                                                         of 81



the market prior to generic launch in July 2011, Forest priced the new and supposedly-improved

XR product at a 5% discount off of the Namenda IR WAC price, confirming that the new

formulation provided no material benefits over Namenda IR. In addition, Forest agreed to pay

rebates to health plans to make sure they put Namenda XR on the same tier as Namenda IR so

that members would not have an incentive to choose Namenda IR and patients did not have to

pay higher co-payments for Namenda XR. Had the reformulation actually increased the value to

XR consumers as compared to IR consumers, Forest, as a rational profit-maximizing company,

would have captured part of that value in its pricing. It did not attempt to capture any added

value through increased pricing of the new XR formulation, but instead raised the price of the

old IR formulation in relation to the new version and provided rebates on Namenda XR solely to

convert the Memantine Hydrochloride Market from the original formulation to the new

formulation.

           2.       Dissatisfied with the Results of its Efforts to Switch Patients and Physicians
                    Voluntarily to Namenda XR, Forest Hatched a Scheme to Force Them to Switch.

           158.     As Forest sought to accomplish the switch from IR to XR, Forest executives had

concerns that conventional strategies designed to influence patients’ drug choices would be

insufficient to convert a satisfactory number of patients from Namenda IR to Namenda XR prior

to the entry of generic Namenda. Forest’s internal projections estimated that only 30% of

Namenda IR users would voluntarily switch prior to July 2015. 31

           159.     There are several reasons why many patients and their physicians are reluctant to

switch from Namenda IR to Namenda XR. First, the benefits of a switch from Namenda IR to

Namenda XR are illusory. There are no studies showing that Namenda XR is more effective than



31
     State of New York v. Actavis, No. 14-4624, slip op at 19 (2d Cir. May 28, 2015).



                                                           50
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   51 51 of 81
                                                                      of 81



Namenda IR; and the reduction in frequency of dosing that Namenda XR offers is a hollow

benefit for most patients, particularly those who are already taking multiple medications. 32

        160.     Second, Namenda XR has the exact same half-life (60 hours or more) as

Namenda IR. 33 Prior to the launch of Namenda XR, physicians were aware that because of the

lengthy half-life of Namenda IR, they could administer Namenda IR once-daily off-label in

situations where reducing the patient’s pill burden was desirable. The fact that Namenda XR’s

half-life is no greater than that of Namenda IR made it readily apparent to physicians that the

new XR formulation provided no practical benefit over Namenda IR.

        161.     Third, for many, if not most, patients (and their physicians), the benefits of the

change of administration are outweighed by the risks of changing the medical routine of a highly

vulnerable patient. Given the potential risks to highly vulnerable later-phase Alzheimer’s

patients, without studies that show that a new medication has meaningful effects over a patient’s

current medication, physicians are frequently will not switch a patient from a medicine on which

the patient is doing well to a new product.

        162.     Plainly, if the choice were left to physicians and patients, a large number of them

would stay on the original formulation. As a result, despite the Forest’s soft-switch tactics of

aggressive marketing and pricing strategies, few physicians and their patients voluntarily

converted from Namenda IR to Namenda XR.

        163.     With the conversion rate remaining at or below 20% several months after the

Namenda XR launch, Forest ultimately became dissatisfied with the number of patients it would




32
   Most Alzheimer’s patients are in long-term care facilities, where the average patient takes nine pills per day.
Long term care facilities generally dispense pills three times a day. NYAG Opinion at pp.53-54.
33
   A medication’s “half-life” is how long it takes for half of it to be eliminated from the bloodstream..



                                                       51
         Case 1:15-cv-07488-CM-RWL
           Case                     Document
                 1:15-cv-07488-CM Document 26 29Filed
                                                   Filed 10/14/15Page
                                                      10/13/15     Page
                                                                      52 52 of 81
                                                                         of 81



be able to switch through conventional strategies that relied on advocating for Namenda XR on

its own merits.

           164.     Accordingly, Forest began to consider whether it should force physicians and

patients to switch to Namenda XR whether they liked it or not. By at least as early as Fall 2012,

Forest began to consider a plan to discontinue (or dramatically restrict distribution of) Namenda

IR tablets several months prior to the availability of generic memantine, in order to accomplish

through a “forced switch” what it was unable to accomplish based on promoting Namenda XR

on its own merits and favorable Namenda XR pricing.

           165.     After a year evaluating whether to discontinue Namenda IR tablets prior to

generic entry, by October 2013, Forest executives made the decision to discontinue Namenda IR.

           166.     According to its own predictions, the profits that Forest expected to make from

the “forced switch” would come largely from impeding generic competition. As noted above, the

typical effect of AB-rated generic entry is a 90% shift of brand market share to generics within

one year. Forest's forced switch was expected to transition 80 to 100% of Namenda IR patients

to XR prior to generic entry, and thereby impede generic competition. 34

           167.     On October 18, 2013, a Forest executive emailed his colleagues, announcing the

decision to withdraw Namenda IR from the market: “Dear all: Forest has made the decision to

withdraw Namenda IR and transition all patients to Namenda XR.”                         Forest CEO Brenton

Saunders, testified that he made the decision, and by doing the hard switch, Forest hoped to hold

on to a large share of its base instead of losing them to competition. 35

           168.     During Forest’s January 21, 2014 earnings call, Forest’s CEO, Brenton Saunders,

unabashedly explained the motivation behind the forced switch strategy: “[I]f we do the hard

34
     State of New York v. Actavis, No. 14-4624, slip op at 37 (2d Cir. May 28, 2015).
35
     NYAG Opinion at pp.49-50.



                                                           52
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   53 53 of 81
                                                                      of 81



switch and we’ve converted patients and caregivers to once-a-day therapy versus twice a day, it’s

very difficult for the generics then to reverse-commute back, at least with the existing Rxs. They

don’t have the sales force, they don't have the capabilities to go do that. It doesn’t mean that it

can’t happen, it just becomes very difficult. It is an obstacle that will allow us to, I think, again,

go into a slow decline versus a complete cliff.” 36 While Saunders discussed discontinuation of

Namenda IR on numerous earning calls with investors, he never suggested that this business

tactic would result in any cost savings or other efficiencies.

         169.     Similarly, another high level Forest executive, considering the likelihood that

patients converted to Namenda XR would switch back to Namenda IR, observed that “anyone

converted [to Namenda XR] is likely to stay converted.” 37

         170.     Forest knew that discontinuing or severely restricting the availability of Namenda

IR would have serious consequences for patients. First, physicians’ freedom to choose the

medications they prefer for their patients would be eliminated, or dramatically curtailed. It

would be Forest – rather than the patient or the physician – that would select the patients’

therapy. By discontinuing or limiting distribution of Namenda IR tablets, Namenda XR would

become the only readily available FDA-approved NMDA antagonist (aside from the rarely

prescribed Namenda oral solution).

         171.     Second, patients would be forced to undergo an unnecessary change in medication

and dosage that could be disruptive to their routine. It is very difficult to predict how this change

in routine could impact a patient. In addition, the recommended dosage for Namenda XR (28

mg) is significantly greater than the typical dosage for Namenda IR (two 10 mg tablets, for a

36
   Forest CEO Brenton Saunders himself used the term "forced switch" in Forest's Q3 2014 Earnings Call (Jan. 21,
2014) ("We believe that by potentially doing a forced switch, we will hold on to a large share of our base users...").
37
   See Amended Complaint dated December 10, 2014, State of New York v. Actavis, et al., No. 1:14-07473
(S.D.N.Y.), ECF No. 70, at p.28



                                                         53
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   54 54 of 81
                                                                      of 81



total of 20 mg). These reasons are why many physicians were reluctant to move their patients to

Namenda XR, and probably would not have done so if not forced by Forest.38

        172.     Forest also knew that widely publicizing the planned Namenda IR discontinuation

would create an instant wave of conversion to Namenda XR because, among other reasons,

physicians and payors would be compelled to act in advance of the actual discontinuation to

ensure against any interruption in patient treatment.

        173.     Had Forest implemented the hard switch strategy, doctors and Alzheimer’s

patients could have decided whether the benefits of switching to once-daily Namenda XR

outweighed the benefits of adhering to twice-daily therapy using less-expensive generic IR (or

perhaps lower-priced Namenda IR). By announcing the removal of Namenda IR from the

market prior to generic IR entry, Forest sought to deprive consumers of that choice. In this way,

Forest avoided competing against lower-cost generics based on the merits of their redesigned

drug by forcing Alzheimer’s patients to take XR, 39 with the knowledge that transaction costs

would make the reverse commute by patients from XR to generic IR highly unlikely. 40

         3.      Forest Begins to Implement and then Modifies its “Forced Switch” Scheme.

        174.     On February 14, 2014, Forest began the “forced switch” by issuing a press release

titled “Forest Laboratories to Discontinue Namenda® Tablets. Focus on Once-Daily Namenda

XR®,” and announced that it planned to discontinue the sale of Namenda IR tablets effective

August 15, 2014. The press release further indicated that the Namenda XR formulation (and the

rarely-prescribed oral solution) would still be available to consumers. On the same day, Forest

notified the FDA that it would “be discontinuing the sale of Namenda [IR] Tablets effective

38
   In fact, Forest’s own surveys indicate that many physicians, caregivers, and pharmacists are concerned about the
potential harm to patients from the forced switch to Namenda XR.
39
   Alternatively patients could discontinue memantine-therapy entirely.
40
   See State of New York v. Actavis, No. 14-4624, slip op at 38 (2d Cir. May 28, 2015).



                                                       54
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   55 55 of 81
                                                                      of 81



August 15, 2014.” Because a manufacturer does not simply withdraw a drug at once, absent

pressing safety concerns, announcing the imminent discontinuation of a drug is tantamount to

withdrawal. 41

        175.     Forest also published open letters to physicians and caregivers on its website

announcing its plans to discontinue Namenda IR tablets as of August 15, 2014, and urging

caregivers to speak with their loved ones’ “healthcare provider[s] as soon as possible to discuss

switching to NAMENDA XR.”

        176.     Forest’s announcements of its plans for discontinuance were made to alert

physicians and patients that Forest would be discontinuing IR so they could take appropriate

action. Physicians interpreted the announcement as a warning to switch their patients from

Namenda IR to Namenda XR. 42

        177.     Forest hoped and expected that the February 14, 2014 public announcement and

letters to physicians and caregivers would spur the “forced switch,” but it also took other actions

to ensure the success of its anticompetitive scheme.

        178.     For example, Forest also took steps to make it more difficult for Namenda IR

tablets, or generic memantine, to be sold to Medicare patients — the largest customer base for

the drug. A large portion of Namenda patients have their prescriptions paid for by Medicare, the

government sponsored health insurance program that provides health insurance to most

Americans over 65 years of age.




41
   State of New York v. Actavis, No. 14-4624, slip op at 21 (2d Cir. May 28, 2015). “Here, Defendants’ hard switch –
the combination of introducing Namenda XR into the market and effectively withdrawing Namenda IR – forced
Alzheimer’s patients who depend on memantine therapy to switch to XR (to which generic IR is not therapeutically
equivalent) and would likely impede generic competition by precluding generic substitution through state drug
substitution laws.” Id at 36.
42
   NYAG Opinion, p.51.



                                                        55
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  56 56 of 81
                                                                     of 81



       179.    In a letter dated February 18, 2014, Forest informed the Center for Medicare and

Medicaid Services (“CMS”), the federal agency responsible for the Medicare program, that

Forest was planning to discontinue Namenda IR tablets on August 15, 2014 and that CMS should

remove Namenda IR tablets from the 2015 Formulary Reference File (“FRF”), which Forest

knew would have the additional effect of discouraging health plans from including Namenda IR

in their own formularies. As a result, health plans were more likely to discontinue covering

Namenda IR tablets starting in January 2015, making it more difficult for physicians to prescribe

Namenda IR.

          4.   Forest Repeatedly Exaggerated the Imminence of its Plans to Discontinue
               Namenda IR in Order to Maintain Constant Pressure on Physicians and Patients to
               Switch to Namenda XR.

       180.    Between February and June 2014, Forest regularly emphasized publicly its intent

to discontinue Namenda IR on August 15, 2014.

       181.    In its Form 10-K filing with the Securities and Exchange Commission for fiscal

year 2013 (ending March 31, 2014), Forest made multiple representations that it would

discontinue Namenda IR on August 15, 2014. For example, in Item 7, which relates to

“Management’s Discussion and Analysis of Financial Condition and Results of Operations,”

Forest’s 10-K reads: “In February 2014, the Company announced that it would discontinue the

sale of Namenda tablets effective August 15, 2014.”

       182.    In fact, however, high level executives at Forest were aware at the time that

problems in the manufacturing and supply of Namenda XR presented a substantial risk that

Forest would be unable to discontinue Namenda IR by August 15, 2014 because it would be

unable to supply the market with sufficient amounts of Namenda XR to support the anticipated

demand.




                                               56
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   57 57 of 81
                                                                      of 81



         183.     Instead of abandoning the anticompetitive product hop strategy altogether, Forest

decided to announce a slight delay, but still maintain publicly that the discontinuation of

Namenda IR was imminent so as to continue to exert coercive pressure on physicians and

patients to switch to Namenda XR. Forest issued a statement on June 10, 2014 announcing that

Forest would no longer be discontinuing Namenda IR on August 15, but would instead continue

to market Namenda IR “into the Fall of 2014.”

         184.     On November 5, 2014, in the Actavis 3rd Quarter Earnings Press Release, the

company confirmed that it had regained the ability to fully supply the market with Namenda XR:

“The Company continues to enhance manufacturing efficiencies related to its once-daily dosing

of Namenda XR®, and is now producing product at capacities sufficient to support transitioning

all Namenda IR twice daily tablet patients to its Namenda XR® once-daily product.”

         185.     The announced discontinuation of Namenda IR had the intended effect of forcing

a wave of conversion from Namenda IR to Namenda XR. 43 From January 2014 to May 2015,

the conversion rate increased from 15% or less 44 to about 50% in anticipation of the lack of

availability of Namenda IR. 45

         186.     On December 15, 2014, Judge Sweet of the United States District Court for the

Southern District of New York, finding a likelihood of success on similar antitrust product-

hopping claims brought by the New York Attorney General, granted an injunction requiring

Forest (and its parent company, Actavis (now Allergan)) to continue to make Namenda IR

tablets available until thirty days after July 11, 2015. The injunction was affirmed by the Second


43
   There is no difference in coercive effect between complete discontinuation and the alternative limited distribution
strategies that Forest has considered. The sole purpose of any such strategy would be to reduce antitrust scrutiny
while accomplishing the exact same anticompetitive effects.
44
   Forest Laboratories 3Q14 Earnings Call Transcript, January 21, 2014, p.14.
45
   See NYAG Opinion, pp.85-86; see also Actavis Plc 1Q2015 Earnings Call Transcript, May 11, 2015, p.3. .



                                                         57
         Case 1:15-cv-07488-CM-RWL
           Case                     Document
                 1:15-cv-07488-CM Document 26 29Filed
                                                   Filed 10/14/15Page
                                                      10/13/15     Page
                                                                      58 58 of 81
                                                                         of 81



Circuit on May 22, 2015. 46 While the injunction may blunt the future effects of Forest’s product

hop strategy to some extent, the anticompetitive effects of the scheme have been substantially

and irreversibly accomplished because, as Forest itself acknowledged above, “anyone converted

[to Namenda XR] is likely to stay converted.”

            5.      Effects of the Product Hop Scheme.

           187.     Namenda IR and Namenda XR have the same active ingredient. The one

characteristic that Namenda XR possessed that made it significantly different from the previous

version of Namenda – and which was crucial to Forest’s anticompetitive scheme – was dosage

form. Forest exploited this difference for one reason: it knew that generic Namenda IR would

not and could not be considered “AB-rated” to branded Namenda XR, and thus pharmacists

would not and could not legally substitute the less-expensive generic Namenda IR when

presented with a prescription for Namenda XR. Such automatic substitution of less-expensive

AB-rated generics at the pharmacy counter is the most efficient market means by which generic

competition reduces drug prices. Forest’s introduction of Namenda XR disrupted this normally

occurring efficient competitive mechanism whereby consumers are afforded discounted prices at

the expiration of exclusivity periods for branded drugs.

           188.     Defendants’ exclusionary conduct has delayed, prevented, and impeded the sale

of generic memantine hydrochloride in the United States, and unlawfully enabled Forest to sell

significantly more branded memantine hydrochloride at artificially inflated prices. To the extent

that Forest had any valid business purpose for the product hop to Namenda XR, that purpose is

outweighed by the anticompetitive effects of the conduct. Forest’s conduct had the intended

effect of allowing it to maintain and extend its monopoly and exclude competition in the relevant


46
     State of New York v. Actavis, No. 14-4624, (2d Cir. May 28, 2015).



                                                          58
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  59 59 of 81
                                                                     of 81



market, to the detriment of all memantine hydrochloride purchasers, including Plaintiff, members

of the Class, and consumers. Accordingly, the anticompetitive effects of Forest’s conduct clearly

outweigh the purported procompetitive benefits (if any) of such conduct.

       189.   Similarly, Forest cannot justify its conduct with any supposed consumer benefit,

as the enormous cost savings offered by generic drugs outweigh any supposed benefit from the

new formulation of Namenda, which benefits are illusory. Forest’s exclusionary motive is also

illustrated by its willingness to sacrifice profits as part of the product hop strategy: Forest’s

decision to incur the extra costs necessary to change formulations was economically rational

only if the change had the effect of excluding generic competition for Namenda IR. But for the

impact on generic competition, Forest would not have invested the resources necessary to bring

Namenda XR to the market. But for the impact on generic competition, it would not have been

economically rational to invest in licensing the supposed extended-release technology,

developing the interchangeable Namenda XR formulation, seeking FDA approval of that

formulation, and changing the Namenda tablet manufacturing processes. The conversion from

the original Namenda formulation to the new Namenda XR formulation reduced Forest’s short

term profits and made economic sense only because of the long term anticompetitive effects of

obstructing generic challengers’ most efficient means of competing.

       190.   Had Forest not forced the conversion of a substantial portion of the Memantine

Hydrochloride Market to the new formulation prior to the entry of generic equivalents to

Namenda IR, physicians and patients would have been able to weigh the relative medical

benefits and prices of the two formulations, and would have been able to choose the formulation

and price point they preferred. Forest introduced Namenda XR and took the actions described




                                               59
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  60 60 of 81
                                                                     of 81



above to with respect to discontinuing Namenda IR in order to deny consumers that choice and

preserve its monopoly profits.

       191.    Had Forest not substantially converted the Memantine Hydrochloride Market to

the Namenda XR formulation, a launch of AB-rated generic equivalent versions of Namenda IR

would have quickly captured the bulk of memantine hydrochloride sales in the market. As a

result, most, if not all, of the prescriptions that are now being filled with Namenda XR instead

would have been filled with generic memantine hydrochloride.

       192.    Moreover, had generic Namenda IR launched before Namenda XR (as might have

occurred but for the Contingent Entry Agreements), the generics would have quickly captured

the bulk of brand Namenda IR sales, and the subsequent launch of Namenda XR (assuming it

happened at all) would have had little effect on the sales of generic Namenda IR. As a result,

generic Namenda IR would have captured the vast majority of the United States Memantine

Hydrochloride Market and most, if not all, of the prescriptions that are now being filled with

Namenda XR instead would have been filled with generic memantine hydrochloride.

                                     VI.    Class Allegations.

       193.    Direct purchaser plaintiff Smith Drug Company brings this action as a class action

under Federal Rules of Civil Procedure 23(a) and (b)(3) on behalf of itself and as representative

of a class defined as follows:

               All persons or entities in the United States and its territories who
               purchased branded Namenda IR 5 or 10 mg tablets, or Namenda
               XR capsules, directly from Forest or its successors in interest,
               Actavis and Allergan, at any time during the period from
               September 22, 2011 until the anticompetitive effects of
               Defendants’ conduct cease (the “Class”).

Excluded from the Class are the defendants and their officers, directors, management,

employees, subsidiaries, or affiliates, and all federal governmental entities.



                                                 60
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  61 61 of 81
                                                                     of 81



      194.          Joinder of the members of the Class is impracticable. Plaintiff believes the

Class members are numerous and widely dispersed throughout the United States. Further, the

Class is readily identifiable from information and records in the possession of defendants. Direct

notice to the members of the Class can be made upon obtaining the relevant information and

records in the possession of defendants.

      195.          Plaintiff’s claims are typical of the claims of the members of the Class.

Plaintiff and all members of the Class were damaged by defendants’ same wrongful conduct.

Specifically, they paid artificially inflated prices for memantine hydrochloride and were deprived

of the benefits of competition from and the choice of cheaper generic versions of Namenda IR as

a result of the defendants’ wrongful conduct.

      196.          Plaintiff will fairly and adequately protect and represent the interests of the

Class. Plaintiff’s interests are coincident with, and not antagonistic to, those of the Class.

      197.          Plaintiff and the Class are represented by counsel who are experienced and

competent in the prosecution of class action antitrust litigation, and have particular experience

with class action antitrust litigation involving pharmaceutical products.

      198.          Questions of law and fact common to the members of the Class predominate

over questions that may affect only individual Class members because defendants have acted on

grounds generally applicable to the entire Class, thereby making overcharge damages with

respect to the Class as a whole appropriate. Such generally applicable conduct is inherent in the

defendants’ wrongful conduct.

      199.          Questions of law and fact common to the Class include:

               a.     whether defendants conspired to restrain competition in the Memantine
                      Hydrochloride Market;




                                                 61
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  62 62 of 81
                                                                     of 81



              b.     whether Forest and/or Merz gave valuable consideration to the Potential
                     First-Filing Generics in exchange for a delay in generic competition;

              c.     whether the contingent launch provisions of the Contingent Entry
                     Agreements were necessary to yield some procompetitive benefit that is
                     legally cognizable and nonpretextual;

              d.     whether Forest and/or Merz’s coerced product hop from Namenda IR to
                     Namenda XR was anticompetitive;

              e.     whether defendants’ challenged conduct harmed competition in the
                     Memantine Hydrochloride Market;

              f.     whether the Potential First Filing Generics would have prevailed in the
                     underlying patent infringement litigation, launched “at risk,” secured an
                     earlier agreed entry date, or launched upon patent expiration absent the
                     illegal settlements;

              g.     whether Forest possessed market power in the Memantine Hydrochloride
                     Market;

              h.     whether the relevant antitrust market (if a relevant market must be defined)
                     is the Memantine Hydrochloride Market;

              i.     whether defendants’ activities alleged herein have substantially affected
                     interstate commerce;

              j.     whether, and to what extent, defendants’ conduct caused antitrust injury to
                     the business or property of plaintiff and members of the Class in the nature
                     of overcharges; and

              k.     the quantum of overcharges paid by plaintiff and the Class in the aggregate.

       200.        Class action treatment is a superior method for the fair and efficient

adjudication of the controversy. Such treatment will permit a large number of similarly situated,

geographically dispersed persons or entities to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, or

expense that numerous individual actions would engender. The benefits of proceeding through

the class mechanism, including providing injured persons or entities a method for obtaining



                                               62
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  63 63 of 81
                                                                     of 81



redress on claims that could not practicably be pursued individually, substantially outweighs

potential difficulties in management of this class action.

       201.         Plaintiff knows of no special difficulty to be encountered in the maintenance

of this action that would preclude its maintenance as a class action.

                          VII.     Market Power and Relevant Market

       202.         There is no cure for Alzheimer's disease. Patients and their loved ones

depend on a handful of medications approved to treat the disease, hoping that the medications

may be able to temporarily alleviate some systems or slow down the progression of others.

Currently, five drugs are FDA approved for the treatment of Alzheimer's: Aricept, Cognex,

Exelon, Razadyne, and Namenda. Cognex was withdrawn from the market in 2012 because it

was toxic.

       203.         Aricept,     Cognex,   Exelon,    and    Razadyne   are   drugs   known    as

acetylcholinesterase inhibitors (“AChEIs”) and they all work in the same basic manner. AChEIs

reduce the breakdown in the brain of a chemical called acetylcholine, a chemical messenger that

transmits information between nerve cells. However, Alzheimer’s destroys the cells that make

acetylcholine, in turn making AChEIs less effective as the disease progresses.

       204.         Memantine, branded and marketed in the United States by Forest as

Namenda, is an N-methyl-D-aspartate (“NMDA”) receptor antagonist and functions differently

than AChEIs. Essentially, Namenda works to prevent the overstimulation by glutamate, an

amino acid that excites nerves, and in excess, is a powerful nerve-cell killer. Namenda is the

only NMDA antagonist approved by the FDA for treatment of Alzheimer’s in the United States,

and has been approved for use in patients with moderate and severe Alzheimer’s.

       205.         Namenda is not generally prescribed as a substitute for AChEIs. Instead, the

drugs are usually prescribed together, or at different stages. About 70% of Alzheimer’s patients


                                                 63
         Case 1:15-cv-07488-CM-RWL
           Case                     Document
                 1:15-cv-07488-CM Document 26 29Filed
                                                   Filed 10/14/15Page
                                                      10/13/15     Page
                                                                      64 64 of 81
                                                                         of 81



taking Namenda are taking an AChEI as well. Doctors commonly prescribe an AChEI first, and

then Namenda is either added or patients are moved to Namenda when the disease has

progressed to a moderate stage and AChEIs become ineffective. Although there is little clinical

support for the use of Namenda for Alzheimer’s patients in the early stages of the disease, some

physicians will prescribe it in conjunction with an AChEI when the diagnosis is first made,

relying on the fact that there are few significant adverse side effects associated with Namenda.

           206.         Defendants Forest and its successor Allergan (formerly Actavis), both

experienced producers in the market, have premised their entire product hop strategy on the

absence of substitutes for memantine. In January 2013, a Forest employee expressed confidence

discontinuing Namenda would likely be successful because, unlike other attempts to pursue

similar product extension strategies, “there are no alternatives” to Namenda – “although of

course patients could simply stop taking the drug.”47

           207.         At all relevant times, Forest had market power over memantine

hydrochloride because Forest had the power to maintain the price of these products at

supracompetitive levels without losing substantial sales to other daily pain management

products. This market power may be shown directly, and therefore no relevant market needs to

be defined.

           208.         To the extent a relevant product market must be defined, the relevant product

market at issue in this case is formulations of memantine hydrochloride — which, as noted,

currently includes only those drugs with memantine as their active ingredient. As described

above, memantine has a unique mechanism of action and typically is used at different stages of

the disease than AChEIs, the only other authorized treatment for Alzheimer’s. The fact that these


47
     Presentation titled “Namenda IR & XR Conversion Plan.” NYAG Opinion at p.47.



                                                      64
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  65 65 of 81
                                                                     of 81



two classes of drugs are frequently prescribed together indicates that they are complements, not

substitutes, and do not compete head to head. In fact, Forest intends to introduce a new drug that

is a “fixed dose combination” of Namenda and an AChEI.

       209.         A small but significant, non-transitory price increase for memantine

hydrochloride by Forest would not have caused a significant loss of sales to other medications

sufficient to make such a price increase unprofitable.

       210.         Namenda IR does not exhibit significant, positive cross-elasticity of demand

with respect to price, with any product other than AB-rated generic versions of Namenda IR.

       211.         Namenda IR is not reasonably interchangeable with any products other than

AB-rated generic versions of Namenda IR. The FDA does not consider Namenda IR and other

medications to be interchangeable.

       212.         Price does not drive prescriptions for Namenda IR or other Alzheimer’s

medications. The pharmaceutical marketplace is characterized by a “disconnect” between the

payment obligation and the product selection. State laws prohibit pharmacists from dispensing

many pharmaceutical products, including Namenda IR, to patients without a prescription written

by a doctor. This prohibition introduces a disconnect between the payment obligation and the

product selection. The patient (and in most cases his or her insurer) has the obligation to pay for

the pharmaceutical product, but the patient’s doctor chooses which product the patient will buy.

       213.         Studies show that doctors typically are not aware of the relative costs of

brand pharmaceuticals and, even when they are aware of the relative costs, they are insensitive to

price differences because they do not have to pay for the products. The result is a marketplace in

which price plays a comparatively unimportant role in product selection.




                                                65
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  66 66 of 81
                                                                     of 81



       214.         Forest needed to control only Namenda IR and its AB-rated generic

equivalents, and no other products, in order to maintain the price of Namenda IR profitably at

supracompetitive prices. Only the market entry of a competing, AB-rated generic version of

Namenda IR would render Forest unable to profitably maintain its current prices of Namenda

without losing substantial sales.

       215.         The entry of other brands of Alzheimer’s medications (or generic versions of

those other brands) did not take substantial sales from Namenda IR or cause Forest to lower its

price. By contrast, the competitive impact of an AB-rated generic version of Namenda IR on

brand Namenda IR would be substantial. Among other things, the entry of an AB-rated generic

Namenda IR would deliver hundreds of millions of dollars of savings to consumers.

       216.          At all relevant times, Forest has sold Namenda IR at prices well in excess of

the competitive price.

       217.         At all relevant times, Forest had, and exercised, the power to exclude and

restrict competition to Namenda IR and AB-rated bioequivalents.

       218.         At all relevant times, Forest enjoyed high barriers to entry with respect to

competition in the relevant product market due to patent and other regulatory protections and

high costs of entry and expansion.

       219.         The relevant geographic market is the United States and its territories.

       220.         Forest’s market share in the relevant market was either 100% or close to

100% at all relevant times.

                         VIII.   Market Effects and Damages to the Class

       221.         But for the anticompetitive conduct alleged above, the Potential First-Filing

Generics would have entered the market with their generic versions of Namenda IR many years

ago – as early as when they began receiving final FDA approval of their generic equivalents.


                                                66
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  67 67 of 81
                                                                     of 81



Other generic manufacturers would have entered the market with additional generic versions of

Namenda IR thereafter.

       222.        But for the anticompetitive conduct alleged above, Forest would likely not

have introduced Namenda XR and would likely not have announced the discontinuation of

Namenda IR, and this conversion of the market would not have significantly affected generic

manufacturers’ ability to penetrate the Memantine Hydrochloride Market with AB-rated versions

of Namenda IR.

       223.        But for the anticompetitive conduct alleged above, Forest’s efforts to switch

the Market from Namenda IR to Namenda XR would not have significantly affected generics’

ability to make sales of generic versions of Namenda IR because, absent the agreed-upon delay

brokered by Forest and Merz, one or more of the Potential First-Filing Generics would have

launched before Forest launched Namenda XR, and the vast majority, 90% or so, of the sales of

Namenda IR would have switched to the generic product before the launch of Namenda XR

(assuming it would have still launched at all) at prices below Namenda IR (or Namenda XR).

       224.        Defendants’ anticompetitive conduct had the purpose and effect of

restraining competition unreasonably and injuring competition by protecting Namenda IR from

generic competition.

       225.        Each of the Potential First-Filing Generics has extensive experience in the

pharmaceutical industry, including in obtaining approval for ANDAs, marketing generic

pharmaceutical products, and manufacturing commercial launch quantities adequate to meet

market demand.

       226.        Defendants’ anticompetitive conduct, which delayed introduction into the

United States marketplace of generic versions of Namenda IR, has caused plaintiff and the Class




                                              67
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  68 68 of 81
                                                                     of 81



to pay more than they would have paid for memantine hydrochloride absent defendants’ illegal

conduct.

       227.         Typically, generic drugs are initially priced significantly below the

corresponding brand drug to which they are AB-rated. As a result, upon generic entry, nearly all

brand drug purchases are rapidly substituted for generic equivalents of the drug. As more

generic manufacturers enter the market, prices for generic versions of a drug predictably plunge

even further due to competition among the generic manufacturers.

       228.         This price competition enables all purchasers of the drug to: (a) purchase

generic versions of a drug at substantially lower prices; (b) purchase generic equivalents of the

drug at a lower price, sooner; and/or (c) purchase the brand drug at a reduced price.

Consequently, brand manufacturers have a keen financial interest in delaying and impairing

generic competition, and purchasers experience substantial cost inflation from that delay and

impairment.

       229.         But for defendants’ anticompetitive conduct, plaintiff and members of the

Class would have paid less for memantine hydrochloride by: (a) substituting purchases of less-

expensive AB-rated generic Namenda IR for their purchases of more-expensive branded

Namenda IR and/or Namenda XR; (b) receiving discounts on their remaining brand Namenda IR

and/or Namenda XR purchases; and (c) purchasing generic Namenda IR at lower prices sooner.

       230.         Moreover, due to defendants’ anticompetitive conduct, other generic

manufacturers were discouraged from and/or delayed in (a) launching generic versions of

Namenda IR, and/or (b) challenging the validity or infringement of the ‘703 Patent in court.

       231.          Thus, defendants’ unlawful conduct deprived plaintiff and the Class of the

benefits of competition that the antitrust laws were designed to ensure.




                                                68
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   69 69 of 81
                                                                      of 81



                                    IX.    Antitrust Impact

        232.       During the relevant period, plaintiff and members of the Class purchased

substantial amounts of memantine hydrochloride directly from Forest. As a result of defendants’

illegal conduct, plaintiff and members of the Class were compelled to pay, and did pay,

artificially inflated prices for their memantine hydrochloride requirements. Those prices were

substantially greater than the prices that plaintiff and members of the Class would have paid

absent the illegal conduct alleged herein, because: (1) the price of memantine hydrochloride was

artificially inflated by defendants’ illegal conduct, and (2) plaintiff and Class members were

deprived of the opportunity to purchase lower-priced generic versions of Namenda IR.

        233.       As a consequence, plaintiff and members of the Class have sustained

substantial losses and damage to their business and property in the form of overcharges. The full

amount and forms and components of such damages will be calculated after discovery and upon

proof at trial.

                             X.    Effect On Interstate Commerce

        234.       At all material times, Namenda IR (and Namenda XR), manufactured and

sold by Forest and/or Actavis (now Allergan), was shipped across state lines and sold to

customers located outside its state of manufacture.

        235.       During the relevant time period, in connection with the purchase and sale of

Namenda IR (and Namenda XR), monies as well as contracts, bills and other forms of business

communication and transactions were transmitted in a continuous and uninterrupted flow across

state lines.

        236.       During the relevant time period, various devices were used to effectuate the

illegal acts alleged herein, including the United States mail, interstate and foreign travel, and




                                               69
         Case 1:15-cv-07488-CM-RWL
           Case                     Document
                 1:15-cv-07488-CM Document 26 29Filed
                                                   Filed 10/14/15Page
                                                      10/13/15     Page
                                                                      70 70 of 81
                                                                         of 81



interstate and foreign telephone commerce. Defendants’ activities were within the flow of, and

have substantially affected, interstate commerce.

                                               XI.     Claims for Relief


           Count 1:           Monopolization in Violation of Section 2 of the Sherman Act,
                              Unlawful Maintenance of Monopoly Power by Conversion of the
                              Namenda Market from IR to XR Formulation.
                              (Asserted Against Forest and its Successor, Actavis (now Allergan)) 48


           237.     Plaintiff hereby incorporates each preceding and succeeding paragraph as though

fully set forth herein.

           238.     During the relevant period, Forest willfully and unlawfully maintained its

monopoly power by engaging in exclusionary conduct that discouraged rather than encouraged

competition on the merits, As explained in detail above, Forest unlawfully coerced the

conversion of the Memantine Hydrochloride Market from Namenda IR to Namenda XR, which

is not safer or more effective than Namenda IR by, inter alia, publicizing to doctors, caregivers

and the general public that the discontinuation of Namenda IR was imminent, significantly

limiting or attempting to limit the distribution of Namenda IR, and requesting that CMS remove

Namenda IR tablets from the 2015 Formulary Reference File (“FRF”).

           239.     The goal, purpose, and/or effect of Forest’s conduct was to maintain and extend

Forest’s monopoly power with respect to memantine hydrochloride. Forest’s illegal conduct,

calculated and designed to prevent, delay, and/or minimize the success of competition from any

generic version of Namenda, enabled Forest to continue charging supra-competitive prices for

memantine hydrochloride without a substantial loss of sales.



48
     In all Claims for Relief, “Forest” includes successor entities Actavis and Allergan.



                                                            70
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   71 71 of 81
                                                                      of 81



        240.    As a result of Forest’s illegal conduct, Plaintiffs and the Class paid more than they

would have paid for memantine hydrochloride, absent Forest’s illegal conduct. But for Forest’s

illegal conduct, competitors would have begun marketing generic versions of Namenda well

before they actually did, and/or would have marketed such versions more successfully than they

actually did.

        241.    If manufacturers of generic memantine hydrochloride had been able to enter the

market and fairly compete with Forest in a full and timely fashion, Plaintiffs and members of the

Class would have substituted lower-priced generic Namenda IR for some or all of their

memantine hydrochloride requirements, and/or would have received lower prices on some or all

of their remaining branded Namenda purchases, at earlier periods of time and/or in far greater

quantities.

        242.    During the relevant period, Plaintiffs and members of the Class purchased

substantial amounts of Namenda IR and Namenda XR directly from Forest. As a result of

Forest’s illegal conduct, alleged herein, Plaintiffs and the members of the Class were compelled

to pay, and did pay, artificially inflated prices for their memantine hydrochloride requirements.

Plaintiffs and all other Class members paid prices for memantine hydrochloride that were

substantially greater than the prices that they would have paid absent the illegal conduct alleged

herein, because: (a) class members were deprived of the opportunity to purchase lower-priced

generic memantine hydrochloride instead of expensive brand-name Namenda; and/or (b) the

price of branded Namenda was artificially inflated by Forest’s illegal conduct.

        243.    Forest’s intentional conversion of the market from the IR to the XR formulation

was an act of monopolization undertaken with the specific intent to monopolize the market for




                                                 71
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  72 72 of 81
                                                                     of 81



memantine hydrochloride in the United States, in violation of Section 2 of the Sherman Act, 15

U.S.C. § 2.


       Count 2:        Monopolization in Violation of Section 2 of the Sherman Act,
                       Unlawful Maintenance of Monopoly Power through an
                       Overarching Scheme to Prevent or Delay Generic Competition.
                       (Asserted Against Forest and its Successor, Actavis (now Allergan))



       244.         Plaintiff hereby incorporates each preceding and succeeding paragraph as

though fully set forth herein.

       245.         At all relevant times, Forest possessed monopoly power in the relevant

market.

       246.         Forest, inter alia, marketed and sold the various versions of Namenda in the

United States. During the relevant period, Forest willfully and unlawfully maintained its

monopoly power by engaging in exclusionary conduct that discouraged rather than encouraged

competition on the merits. As explained in detail above, Forest engaged in an exclusionary

scheme that included, inter alia, the following independently-actionable, anticompetitive

elements:


               a.      Creating a network of horizontal market-delay agreements among Forest
                       and the Potential First-Filing Generics, all direct competitors, through the
                       contingent launch provisions in the various Contingent Entry Agreements
                       and/or paying the Potential First-Filing Generics large and unexplained
                       amounts of cash or other consideration in exchange for their agreement to
                       delay market entry;

               b.      Entering into non-compete agreements with the Potential First-Filing
                       Generics that extended beyond the expiration of the ‘703 patent; and


               c.      Using the market delay created by the reverse payments and/or contingent
                       entry agreements described above to implement a product hop scheme
                       whereby Forest used various coercive tactics to deprive Alzheimer’s


                                                72
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   73 73 of 81
                                                                      of 81



                          patients and physicians of choice in the Memantine Hydrochloride Market
                          and force the conversion of Namenda IR sales to the patent-protected
                          Namenda XR prior to the launch of generic versions of Namenda IR.


        247.         The goal, purpose, and/or effect of Forest’s scheme was to maintain and

extend Forest’s monopoly power in the Memantine Hydrochloride Market. Forest’s illegal

scheme to prevent, delay, and/or minimize the success of the introduction into the United States

marketplace of any generic versions of Namenda IR enabled Forest to continue charging

supracompetitive prices for memantine hydrochloride without a substantial loss of sales. If

manufacturers of generic versions of Namenda IR had been able to enter the market and fairly

compete with Forest in a full and timely fashion, Plaintiffs and members of the Class would have

substituted lower-priced generic versions of Namenda IR for some or all of their memantine

hydrochloride requirements, and/or would have received lower prices on some or all of their

remaining branded memantine hydrochloride tablet purchases, at earlier periods of time and in

far greater quantities.

        248.         As a result of the illegal scheme of Forest, Plaintiffs and the Class paid more

than they would have paid for memantine hydrochloride, absent Forest’s illegal conduct. But for

Forest’s illegal conduct, competitors would have begun marketing generic versions of Namenda

IR well before they actually did, and/or would have marketed such versions more successfully

        249.         During the relevant period, Plaintiffs and members of the Class purchased

substantial amounts of Namenda IR (and Namenda XR) directly from Forest. As a result of

Forest’s illegal conduct, alleged herein, Plaintiffs and the members of the Class were compelled

to pay, and did pay, artificially inflated prices for their memantine hydrochloride requirements.

Plaintiffs and all other Class members paid prices for memantine hydrochloride that were

substantially greater than the prices that they would have paid absent the illegal conduct alleged



                                                 73
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  74 74 of 81
                                                                     of 81



herein, because: (a) class members were deprived of the opportunity to purchase lower-priced

generic versions of Namenda IR instead of expensive brand-name Namenda IR (and Namenda

XR); and/or (b) the price of branded Namenda was artificially inflated by Forest’s illegal

conduct.

       250.         Forest’s scheme was in the aggregate an act of monopolization undertaken

with the specific intent to monopolize the Memantine Hydrochloride Market in violation of

Section 2 of the Sherman Act, 15 U.S.C. § 2.

       Count 3:        Monopolization in Violation of Section 2 of the Sherman Act,
                       Unlawful Maintenance of Monopoly Power through an Agreement
                       Not to Compete Beyond the Expiration of the ‘703 Patent.
                       (Asserted Against Forest and its Successor, Actavis (now Allergan))


                251. Plaintiff hereby incorporates each preceding and succeeding paragraph as

though fully set forth herein.

                252. During the relevant period, Forest willfully and unlawfully maintained its

monopoly power by engaging in exclusionary conduct that discouraged rather than encouraged

competition on the merits, As explained in detail above, Forest entered into license agreements

with multiple would-be generic competitors that were illegal and independently anticompetitive

in that they precluded generic competition for three months beyond the expiration of the ‘703

patent term (because pediatric exclusivity did not extend the patent term with respect to the

subject generic challengers).

                253. The goal, purpose, and/or effect of Forest’s conduct was to maintain and

extend Forest’s monopoly power with respect to memantine hydrochloride. Forest’s illegal

conduct, calculated and designed to prevent, delay, and/or minimize the success of competition




                                                74
      Case 1:15-cv-07488-CM-RWL
        Case                     Document
              1:15-cv-07488-CM Document 26 29Filed
                                                Filed 10/14/15Page
                                                   10/13/15     Page
                                                                   75 75 of 81
                                                                      of 81



from any generic version of Namenda, enabled Forest to continue charging supra-competitive

prices for memantine hydrochloride without a substantial loss of sales.

                 254. As a result of Forest’s illegal conduct, Plaintiffs and the Class paid more

than they would have paid for memantine hydrochloride, absent Forest’s illegal conduct. But for

Forest’s illegal conduct, competitors would have begun marketing generic versions of Namenda

before they actually did, and/or would have marketed such versions more successfully than they

actually did.

                 255. If manufacturers of generic memantine hydrochloride had been able to

enter the market and fairly compete with Forest in a full and timely fashion, Plaintiffs and

members of the Class would have substituted lower-priced generic Namenda IR for some or all

of their memantine hydrochloride requirements, and/or would have received lower prices on

some or all of their remaining branded Namenda purchases, at earlier periods of time and/or in

far greater quantities.

                 256. During the relevant period, Plaintiffs and members of the Class purchased

substantial amounts of Namenda IR and Namenda XR directly from Forest. As a result of

Forest’s illegal conduct, alleged herein, Plaintiffs and the members of the Class were compelled

to pay, and did pay, artificially inflated prices for their memantine hydrochloride requirements.

Plaintiffs and all other Class members paid prices for memantine hydrochloride that were

substantially greater than the prices that they would have paid absent the illegal conduct alleged

herein, because: (a) class members were deprived of the opportunity to purchase lower-priced

generic memantine hydrochloride instead of expensive brand-name Namenda; and/or (b) the

price of branded Namenda was artificially inflated by Forest’s illegal conduct.




                                                75
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  76 76 of 81
                                                                     of 81



                257. Forest’s illegal license arrangements were undertaken with the specific

intent to monopolize the market for memantine hydrochloride in the United States, in violation

of Section 2 of the Sherman Act, 15 U.S.C. § 2.



       COUNT 4:        VIOLATION OF 15 U.S.C. § 1
                       AGREEMENTS RESTRAINING TRADE
                       (Asserted Against All Defendants)


                258. Plaintiff hereby incorporates each preceding and succeeding paragraph as

though fully set forth herein.

                259. Defendants have engaged in continuing unlawful contracts, combinations,

and conspiracies that have unreasonably restrained trade or commerce in violation of Section 1

of the Sherman Act, 15 U.S.C. § 1.

                260. The unlawful contracts, combinations, and conspiracies consist of Forest

and Merz entering into the Contingent Entry Agreements with the Potential First-Filing

Generics, under which Forest and the Potential First-Filing Generics, all direct competitors,

created an inter-related network of horizontal market-delay agreements through the contingent

launch provisions in each of the Contingent Entry Agreements. The purpose and effect of this

conduct and these agreements were (and are) to: (a) allocate close to 100% of the Memantine

Hydrochloride Market to Forest; (b) prevent the sale of generic versions of Namenda IR in the

United States, thereby nearly completely protecting Namenda IR from generic competition for

many years, during which time Forest could switch the Market to Namenda XR; and (c) fix,

raise, maintain or stabilize the price at which direct purchasers would pay for Namenda or its

AB-rated generic equivalents at supracompetitive levels.




                                               76
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  77 77 of 81
                                                                     of 81



                261. Each Contingent Entry Agreement between the Defendants and each

Potential First Filing Generic was independently anticompetitive and unlawful and further part of

an overall conspiracy between and among the Defendants and the Potential First Filing Generics

not to compete with each other.

                262. The Contingent Entry Agreements harmed plaintiff and the Class as set

forth above.

                263. The Contingent Entry Agreements covered a sufficiently substantial

percentage of the relevant market to harm competition.

                264. The Contingent Entry Agreements, and the conduct of Forest and Merz

under and pursuant to those agreements, constitute an illegal restraint of trade or commerce and a

continuing violation of the Sherman Act.        There is and was no legitimate, nonpretextual,

procompetitive business justification for the contingent launch provisions of the agreements that

outweighs their harmful effect.      Even if there were some conceivable justifications, the

contingent launch provisions were not necessary to achieve such a purpose, nor were they the

least restrictive means of achieving any such purported justification.

                265. As a direct and proximate result of the Defendants’ anticompetitive

conduct, as alleged herein, plaintiff and the Class have been harmed and have sustained

substantial losses and damage to their business and property in the form of overcharges as set

forth above.


       COUNT 5:        VIOLATION OF 15 U.S.C. § 1
                       AGREEMENTS RESTRAINING TRADE
                       (Asserted Against All Defendants)




                                                77
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  78 78 of 81
                                                                     of 81



                266. Plaintiff hereby incorporates each preceding and succeeding paragraph as

though fully set forth herein.

                267. Defendants have engaged in continuing unlawful contracts, combinations,

and conspiracies that have unreasonably restrained trade or commerce in violation of Section 1

of the Sherman Act, 15 U.S.C. § 1.

                268. The unlawful contracts, combinations, and conspiracies consist of Forest

and Merz entering into the Contingent Entry Agreements with the Potential First-Filing

Generics, which are independently anticompetitive horizontal market-allocation agreements

insofar as they contain license provisions that precluded generic competition for three months

beyond the expiration of the ‘703 patent term (because pediatric exclusivity did not extend the

patent term with respect to the subject generic challengers).

                269. The purpose and effect of this conduct and these agreements were (and

are) to: (a) allocate close to 100% of the Memantine Hydrochloride Market to Forest; (b) prevent

the sale of generic versions of Namenda IR in the United States, thereby nearly completely

protecting Namenda IR from generic competition; and (c) fix, raise, maintain or stabilize the

price at which direct purchasers would pay for Namenda or its AB-rated generic equivalents at

supracompetitive levels.

                270. Each Contingent Entry Agreement between the Defendants and each

Potential First Filing Generic was independently anticompetitive and unlawful and further part of

an overall conspiracy between and among the Defendants and the Potential First Filing Generics

not to compete with each other.

                271. The anticompetitive license provisions of the Contingent Entry

Agreements harmed plaintiff and the Class as set forth above.




                                                78
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  79 79 of 81
                                                                     of 81



                272. The anticompetitive license provisions of the Contingent Entry

Agreements covered a sufficiently substantial percentage of the relevant market to harm

competition.

                273. The anticompetitive license provisions of the Contingent Entry

Agreements between Forest/Merz and the Potential First-Filing Generics, and their conduct

under and pursuant thereto, constitute an illegal restraint of trade or commerce and a continuing

violation of the Sherman Act. There is and was no legitimate, nonpretextual, procompetitive

business justification for the license provisions.       Even if there were some conceivable

justifications, the license provisions were not necessary to achieve such a purpose, nor were they

the least restrictive means of achieving any such purported justification.

                274. As a direct and proximate result of the Defendants’ anticompetitive

conduct, as alleged herein, plaintiff and the Class have been harmed and have sustained

substantial losses and damage to their business and property in the form of overcharges as set

forth above.

                                  XII.   Demand for Judgment

       WHEREFORE, Smith Drug Company, on behalf of itself and the Class, respectfully

requests that the Court:

       A.      Determine that this action may be maintained as a class action pursuant to Fed. R.
               Civ. P. 23(a) and (b)(3), and direct that reasonable notice of this action, as
               provided by Fed. R. Civ. P. 23(c)(2), be given to the Class, and declare Smith
               Drug Company a representative of the Class;

       B.      Enter joint and several judgments against the defendants and in favor of Smith
               Drug Company and the Class;

       C.      Award the class damages (i.e., three times overcharges) in an amount to be
               determined at trial; and

       D.      Award Smith Drug Company and the Class their costs of suit, including
               reasonable attorneys’ fees as provided by law.


                                                79
     Case 1:15-cv-07488-CM-RWL
       Case                     Document
             1:15-cv-07488-CM Document 26 29Filed
                                               Filed 10/14/15Page
                                                  10/13/15     Page
                                                                  80 80 of 81
                                                                     of 81



                                      XIII. Jury Demand

       Pursuant to Federal Rule of Civil Procedure 38, Smith Drug Company, on behalf of itself

and the proposed Class, demands a trial by jury on all issues so triable.


Dated: October 13, 2015                       Respectfully submitted,



                                              /s/ Bruce E. Gerstein

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                                                 80
Case 1:15-cv-07488-CM-RWL
  Case                     Document
        1:15-cv-07488-CM Document 26 29Filed
                                          Filed 10/14/15Page
                                             10/13/15     Page
                                                             81 81 of 81
                                                                of 81



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                                  81
